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                         IN THE UNITED STATES DISTRICT COURT         DE 1 I ZOtl
                             EASTERN DISTRICT OF ARKANS1~
                                      WESTERN DIVISION       I~,·.~,..,.~~~m:tt~•

BEAN LUMBER COMPANY, INC. and GRADY BEAN,                                     PLAINTIFFS
Individually and as a Third-Party Beneficiary of the Terms
Sheet and Engagement Agreement Executed by Himself,
Bean Lumber Company, Inc., Malteco Group, Inc. a/k/a
Malteco Business Consulting Group and/or Malteco
Business Consulting and Willy Andreas Kirsch a/k/a Andy
Kirsch

                           CASE NO.    1:1A-c Y- 71 £ J14JV1
MALTECO BUSINESS CONSULTING GROUP, INC.                         DEFENDANTS
A/KIA MALTECO BUSINESS CONSULTING GROUP
and/or     MALTECO          BUSINESS       CONSULTING;
MALTEK         INTERNATIONAL,            SARL;       WILLY
ANDREAS KIRSCH A/KIA ANDY KIRSCH;
LUCUANO          CARMINO         ZAMBRELLA;           GARY
HACKER; GALLIN GROUP INTERNATIONAL; BEN
W. GALLINGER; ADMIRAL INSURANCE COMPANY;
BEHNKE & ASSOCIATES INS~CE; . JO~is case assigned to Distri~udge
KIMMEY; JOHN DOES 1,25, satd destgnatl%ftd to Mnni,.,, 1,,    .

representing the liability insurance carrier(s) if any entity
raises Charitable Immunity and the evolving law mandates
a direct action. As a matter of prudence, a direct action is
brought against the insurance company(ies) that are the
liability insurance carrier(s) for Malteco Business
Consulting Group, Inc. a/k/a Malteco Business Consulting
Group and/or Malteco Business Consulting, MALTEK
INTERNATIONAL, SARL and/or the Gallin Group
International; JOHN DOES 26-50, said designation
representing any and all employees, the Estate of any
Defendant who predeceases service of the Complaint, the
insurance carrier for the Defendant(s) and/or entity if a
direct action is allowed, required or proper pursuant to
applicable law and/or agents acting on behalf of Malteco
Business Consulting Group, Inc. a/k/a Malteco Business
Consulting Group and/or Malteco Business Consulting,
MALTEK INTERNATIONAL, SARL and/or the Gallin
Group International who assisted and aided, contributed

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to and/or benefited direcdy, or indirecdy, from the injury
complained of herein; JOHN DOES 51·75, said
designation representing the principal of any and all of the
individual Defendants, whether named specifically herein,
or named as a ''John Does 26-50", as said entities are
vicariously liable for any and all acts of negligence/fault
perpetrated by their employees and/or agents; JOHN
DOES 76-100, said designation representing all general
partners, individuals and/or entities having an interest
subjecting them/it to liability as a separate judicial entity
for the acts of negligence and/or fraud alleged herein; and
JOHN DOES 101·125, said designation representing all
individuals and/or entities who aided, abetted, assisted,
and/or conspired with the Defendants to engage in
unconscionable, false and/or deceptive act(s) and/or
practice(s) in business and harmed, defrauded and/or
fraudulendy induce the Plaintiffs into entering into a
contract with Malteco, and/or provided promises to the
Plaintiffs which caused them to delay seeking other means
or avenues to prevent the injuries and/or damages they
have sustained, at a time when said damages could have
been alleviated and/or mitigated.


                                            COMPLAINT

        Come now the Plaintiffs, Bean Lumber Company, Inc. ("Bean Lumber" hereinafter) and Grady

Bean, Individually and as a Third-Party Beneficiary of the Terms Sheet and Engagement Agreement executed

by himself, Bean Lumber, Malteco Group, Inc. a/k/a Malteco Business Consulting Group and/or

Malteco Business Consulting, and Willy Andreas Kirsch a/kla Andy Kirsch, by and through their

attorneys, the Boyd Law Firm, and for their Complaint against the aforementioned parties do state and

allege as follows:




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                                        I. Jurisdiction and Venue

       1.     The Plaintiff, Bean Lumber, was at all relevant times hereto a domestic corporation

having its principal place of business located at 229 S. Spur Highway 8 North, Glenwood, Pike County,

Arkansas 71943.

       2.      The Plaintiff, Grady Bean, is, and was at all relevant times, a resident and citizen of Hot

Springs, Garland County, Arkansas.

       3.      This Court has jurisdiction over the parties herein and this cause of action, and venue is

proper pursuant to 28 U.S.C. §1332(a)(3).

       4.      Separate Defendant Malteco Business Consulting Group, Inc. a/k/a Malteco Business

Consulting Group and/or Malteco Business Consulting was, at all relevant times, a foreign corporation

having its principal place of business located at 1825 West Walnut Hill Lane, Suite 120, Irving, Texas

75038. Upon information and belief, Malteco Business Consulting Group, Inc. a/k/a Malteco Business

Consulting Group and/or Malteco Business Consulting is now located at 12700 Park Central Drive,

#106, Dallas, Texas 75251-1513.

       5.      Separate Defendant MALTEK INTERNATIONAL, SARL is an international foreign

corporation located at Rue Lamartine 27, Geneva, Switzerland 1203 started by Willy Andreas Kirsch

a/k/a Andy Kirsch, who is also the owner and President of Malteco Business Consulting Group, Inc.

a/k/a Malteco Business Consulting Group and/or Malteco Business Consulting.

       6.      Separate Defendant Willy Andreas Kirsch a/k/a Andy Kirsch ("Andy Kirsch" or "Kirsch"

hereinafter), upon information and belief, is, and was at the time of the injury complained of herein, the

owner and President of Malteco Business Consulting Group, Inc. a/k/a Malteco Business Consulting

Group and/or Malteco Business Consulting, and the co-owner and President of MALTEK


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INTERNATIONAL, SARL. At the time of the injury(ies) and/or damage(s) complained of herein,

Defendant Kirsch, upon information and belief, was a resident of Irving, Dallas County, Texas.

       7.       Separate Defendant Lucuano Carmino Zambrella ("Zambrella" hereinafter), upon

information was, at all relevant times, the co-owner of MALTEK INTERNATIONAL, SARL. At the

time of the injury(ies) and/or damage(s) complained of herein, Defendant Zambrella, upon information

and belief, was a resident of Geneva, Switzerland.

       8.       Separate Defendant Gary Hacker ("Hacker" hereinafter), upon information and belief, is,

and was at all relevant times, the President of Malteco Business Consulting Group and/or Malteco

Business Consulting. At the time of the injury(ies) and/or damage(s) complained of herein, Defendant

Hacker, upon information and belief, was a resident and citizen oflrving, Dallas County, Texas.

       9.       At all relevant times, separate Defendant Gallin Group International was a foreign

corporation having its principal place of business in Portland, Multnomah County, Oregon.

       10.      Separate Defendant Ben W. Gallinger was, at all relevant times, President of Gallin

Group International. At the time of the injury(ies) and/or damage(s) complained of herein, Defendant

Gallinger, upon information and belief, was a resident and citizen of Portland, Multnomah County,

Oregon.

       11.      At all relevant times, separate Defendant Admiral Insurance Company was a Deleware

Corporation with its principal place of business at 1000 Howard Boulevard, Suite 300, Mt. Laurel, New

Jersey 08054.

       12.      At all relevant times, separate Defendant Behnke & Associates Insurance was a Florida

Corporation with its principal place(s) of business at 6565 Taft Street, Suite 104, Hollywood, Florida

33024 and/or 18503 Pines Boulevard, Suite 204, Pembroke, Florida 33029.


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       13.      Separate Defendant John Kimmey, upon information and belief, was a resident and

citizen of McKinney and/or Irving, Dallas County, Texas at the time of the injury(ies) and/or damage(s)

complained of herein.

       14.      Defendants "John Does 1-25" is a designation representing the liability insurance

carrier(s) of any entity that raises Charitable Immunity and/or the evolving law mandates a direct action.

As a matter of prudence, a direct action is brought against the insurance company(ies) that are the

liability insurance carrier(s) for Malteco Business Consulting Group, Inc., a!k/a Malteco Business

Consulting Group and/or Malteco Business Consulting, MALTEK INTERNATIONAL, SARL and/or

the Gallin Group International.

       15.      Defendants "John Does 26-50" is a designation representing any and all employees, the

Estate of any Defendant who predeceases service of the Complaint, the insurance carrier for the

Defendant(s) and/or entity if a direct action is allowed, required, or proper pursuant to applicable law

and/or agents acting on behalf of Malteco Business Consulting Group, Inc. a!k/a Malteco Business

Consulting Group and/or Malteco Business Consulting, MALTEK INTERNATIONAL, SARL and/or

the Gallin Group International who assisted and aided, contributed to and/or benefited directly, or

indirectly, from the injury(ies) and/or damage(s) complained of herein. An Affidavit is attached hereto

as Exhibit A in accordance with Ark. Code Ann. § 16-56-125.

        16.     Defendants "John Does 51-75" is a designation representing the principal of any and all

of the individual Defendants, whether named specifically herein or named as a "John Does 26-50", as

said entities are vicariously liable for any and all acts of negligence/fault/breaches of contract/fraud/or

other cognizable cause of action perpetrated by their employees and/or agents.




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       17.       Defendants "John Does 76-1 00" is a designation representing all general partners or

individuals and/or entities having an interest subjecting them/it to liability as a separate judicial entity

for the acts of negligence and/or fraud alleged herein. The Plaintiff will amend his Complaint, if

necessary, to specifically name the proper individual Defendants as they are further identified.

       18.       Defendants "John Does 101,125" is a designation representing all individuals and/or

entities who aided, abetted, assisted, and/or conspired with the Defendants to engage in

unconscionable, false and/or deceptive act(s) and/or practice(s) in business and harmed, defrauded

and/or fraudulently induce the Plaintiffs into entering into a contract with Malteco, and/or provided

promises to the Plaintiffs which caused them to delay seeking other means or avenues to prevent the

injuries and/or damages they have sustained, at a time when said damages could have been alleviated

and/or mitigated.

                                                II. The Facts

        19.      At all times relevant hereto, the Plaintiff, Grady Bean, was the owner, operator and CEO

of Bean Lumber.

       20.       Separate Defendant Ben Gallinger, President of Gallin Group International, is a lumber

broker and was, at the time of the injury(ies) and/or damage(s) complained of herein, a customer of

Bean Lumber. Defendant Gallinger knew that Bean Lumber was having financial problems and needed

a cash infusion. Therefore, Defendant Gallinger contacted the Plaintiffs in order to introduce the

Plaintiffs to a "hard money guy" he knew in Dallas, Texas who brokered deals for large amounts of cash,

with a short turn-around.




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        21.       After the Plaintiffs expressed interest in meeting Defendant Gallinger's "hard money

guy", Defendant Gallinger contacted Separate Defendant John Kimmey, who then contacted the

Plaintiffs.

        22.       Separate Defendant Kimmey was the party responsible for brokering the business

arrangement between the Plaintiffs and Malteco Business Consulting Group, Inc. a/k/a Malteco

Business Consulting Group and/or Malteco Business Consulting (hereinafter collectively called

"Malteco"), MALTEK INTERNATIONAL, SARL, Separate Defendant Andy Kirsch, Separate

Defendant Zambrella, and/or, as appropriate, any Joe Doe Defendant generally named herein.

         23.      Defendant Kimmey told the Plaintiffs that Defendant Kirsch, President and Owner of

Malteco and MALTEK INTERNATIONAL, SARL, typically only entered into contracts for large

investments, such as $300,000,000.00 to 500,000,000.00, but that Defendant Kirsch was willing to

enter into a few smaller investment contracts as a favor to Defendant Kimmey.

         24.      In early May of 2010, the Plaintiffs met Defendant Kimmey in person.          Defendant

Kimmey seemed like a legitimate broker to the Plaintiffs, and was able to provide the Plaintiffs with

copies and/or drafts of the contracts between Malteco and several other companies with which

Defendant Kimmey was also working. See Exhibits SD.

         25.      On May 26, 2010, the Plaintiffs received a Terms Sheet, which was already signed by Andy

Kirsch on behalf of Malteco, and an Engagement Agreement. See Exhibits E and F, respectively.

         26.      According to the Terms Sheet, which was executed by the Plaintiffs and returned to

Malteco on May 28, 2010, Malteco agreed to invest $10,000,000.00 into Bean Lumber in order to

refinance the existing facility(ies)/buildings, retire specified liens associated with Bean Lumber and

invest in Bean Lumber. See Exhibit E, pg. 1. However, before Malteco began paying Bean Lumber any


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of the promised $10,000,000.00, Bean Lumber had to pay a "depository fee" of $125,000.00 by making

an initial payment of $60,000.00 and subsequent payments of $16,250.00, bi~weekly, for four (4)

months. Id. at 2. Bean Lumber was told that the $125,000.00 would be used to fund an insurance

"wrap", to which Bean Lumber agreed in the Engagement Agreement, attached hereto as Exhibit F.

       27.      Bean Lumber also agreed that, at closing, Malteco would receive a      twenty~five   percent

(25%) equity interest in the company in the form of     twenty~five   percent (25%)   c~wnership      of the

company and twenty~five percent (25%) voting rights. Exhibit Eat 3. Malteco would also receive eight

percent (8%) of the dividends from profits during the period of investment. Id.

       28.      Pursuant to the Terms Sheet, Bean Lumber was supposed to receive an initial draw and/or

"tranche" of $1,000,000.00 and eighteen (18) payments of $500,000.00 following the company's

payment of the $125,000.00 "depository fee". Id.

       29.      The Plaintiff wired $125,000.00 on behalf of himself and Bean Lumber to Malteco

pursuant to the Terms Sheet. See Exhibit G, attached hereto. Defendants Kirsch and Kimmey told the

Plaintiffs they would receive the initial $1,000,000.00 and/or "first tranche" by mi~July 1, 2010. The

Plaintiffs did not receive these funds as promised.

       30.      By August of 2010, Bean Lumber's lenders began getting nervous, fearing the possibility

that Bean Lumber might never receive any of the $10,000,000.00. In an effort to stave off bankruptcy,

the Plaintiffs requested proof, through Defendant Kimmey, that Defendant Kirsch and Malteco were

legitimate and that Bean Lumber would be receiving the promised funds. See Exhibit H, attached hereto.

In response, Defendant Kirsch sent the Plaintiffs a copy of his passport, an undated letter from Behnke

& Associates Insurance, an Evidence of Property Insurance from Admiral Insurance Company and two (2)

letters, one dated August 17, 2010 and one dated August 20, 2010. See Exhibits ~M, respectively. In the


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letter dated August 17, 2010, Defendant Kirsch states that Malteco was experiencing delays moving the

funds due to the "financial summer break and summer vacation in Europe". In the letter dated August

20, 2010, Defendant Kirsch again apologizes for the "financial summer break and summer vacation in

Europe", and states that MALTEK INTERNATIONAL, SARL, the company funding Malteco, expected

the funds to clear in seventeen (17) International and/or US bank workdays, given there were no

"pending regulatory or banking compliance matters".

       31.     The funds from the Defendant did not arrive in seventeen (17) "International and/or

US bank workdays". From September of 2010 through November of 2010, Defendant Gary Hacker,

who is, and was at the time, running Malteco in Texas, got involved in the communications between the

Plaintiff and Defendant Kirsch. The Plaintiffs exchanged several emails with Defendant Hacker through

the months of September, October and November of 2010 regarding the arrival of the first tranche.

Defendant Hacker, on behalf of himself, Defendant Kirsch and Malteco, continuously assured the

Plaintiffs that Bean Lumber would receive the promised funds pursuant to the Temts Sheet and

Engagement Agreement entered into by the Plaintiffs and Malteco on May 28, 2010. For example:

                a)     On October 20, 2010, Defendant Hacker sent an email to the Plaintiffs stating

                that Malteco was about ten (10) days away from cash, and that the bank had accepted a

                Standby Letter of Credit ("SBLC") via MT799. See Exhibit N, attached hereto;

                b)     On October 26, 2010, the Plaintiffs emailed Defendant Hacker in an effort to

                follow-up Defendant Hacker's October 20, 2010 email and determine how Bean Lumber

                would receive the promised funds. In response, Defendant Hacker told the Plaintiffs

                that he and Defendant Kirsch had discussed how funds would be transmitted, but had

                not yet chosen a method. Defendant Hacker assured the Plaintiffs that Malteco would


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                   use the quickest possible way to transmit the funds to Bean Lumber, and that the

                   company was in the final stages of receiving the funds to provide to the Plaintiff. See

                   Exhibit 0, attached hereto; and

                   c)      On November 8, 2010, Defendant Hacker told the Plaintiffs that he expected the

                   funds to be available "the first part of next week". See Exhibit P, attached hereto.

        32.        The Plaintiffs were unable to get Defendant Hacker to respond to any of his calls or

emails following the November 8, 2010 email.

        33.        Defendant Kirsch also continued to provide the Plaintiffs with a number of dates by

which Bean Lumber could plan on receiving the promised funds, and then give the Plaintiffs excuses as

to why the funds were not available on the promised date. For example, on October 3, 2010, Defendant

Kirsch emailed the Plaintiffs and stated that the delay in funding was due to the bank issuing a SBLC,

and not cash, for a line of credit which required Defendant Kirsch to monetize the SBLC.                  He

apologized for the delay, and told the Plaintiffs that he expected funding "this week". See Exhibit Q,

attached hereto.

        34.        On November 25, 2010, the Plaintiffs emailed Defendant Kirsch in an effort to explain

to Defendant Kirsch Bean Lumber's dire need of the promised funding. The Plaintiffs wrote:

                           I didn't hear from you yesterday and my main lender blew up.
                           They are really upset that Gary told them money would be moving
                           Tuesday and it didn't. They told me if money is not moving by
                           the 30th [of November] they are calling my loan! They are owned
                           by Caterpillar which is worldwide and they said they were going to
                           contact the bank to verify the legitimacy of the loan. They are
                           convinced we are never getting money. I really need some help
                           here Andy. I need something legit to give them to calm down.

See Exhibit R, attached hereto.



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          35.   At the end of November of 2010, Bean Lumber ceased operations due to a lack of

operating funds.

          36.   On December 14, 2010, the Plaintiffs received news from Defendant Kirsch through

Defendant Gallinger. The Plaintiffs were told that Merrill Lynch had agreed to broker Malteco's deal,

and that everything was "under control". See ExhibitS, attached hereto.

          37.   On December 15, 2010, after hearing about a possible connection between Defendant

Kirsch and Garrison Securities, which had recendy defrauded a number of their clients, as well as

Malteco's failure to provide the Plaintiffs with any of the money promised in the Terms Sheet and

Engagement Agreement, the Plaintiffs sent an email to Defendant Kimmey and Defendant Gallinger,

wherein they announces that they are cutting ties with Kimmey, Gallinger and Defendant Kirsch. See

Exhibits Tand U, attached hereto.

          38.   On March 23, 2011, Defendant Kirsch's attorney, Billy Parlin, stated that his client had

decided to refund the Plaintiffs "depository fee" by paying $12,000.00 bi-weekly. See Exhibit V, attached

hereto. To date, the Plaintiffhas only received $25,000.00.

          39.   On June 25, 2013, Defendant Kirsch, through his attorney, Billy Parlin, continued

making false promises regarding payment of the money owed to the Plaintiffs. According to Mr. Parlin,

the funds in question would be available within a "couple of weeks". See Exhibit W, attached hereto. To

date, the Plaintiffs has not received any further payments from Malteco, MALTEK INTERNATIONAL,

SARL and/or Defendant Kirsch.

                               III.   COUNT I- BREACH OF EXPRESS CONTRACT


          40.   Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.


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        41.     The Tenns Sheet and Engagement Agreement attached hereto as Exhibits E and F,

respectively, clearly, and in no uncertain terms, lay out the parties' agreement herein. According to the

Terms Sheet, which was executed by the Plaintiffs and Defendant Kirsch on May 28, 2010, Malteco

agreed to invest $10,000,000.00 into Bean Lumber in order to refinance the existing

facility(ies)/buildings, retire specified liens associated with Bean Lumber and invest in Bean Lumber.

See Exhibit E, pg. 1.

        4 2.    In consideration for this agreement, the Plaintiffs paid the requisite "depository fee" of

$125,000.00 to Malteco to fund an insurance wrap, to which Bean Lumber agreed in the Engagement

Agreement.     Bean Lumber wired an initial payment of $60,000.00 and subsequent payments of

$16,250.00, bi-weekly, for four (4) months. Id. at 2; see also Exhibit G. Bean Lumber also agreed that, at

closing, Malteco would receive a twenty-five percent (25%) equity interest in the company in the form of

twenty-five percent (25%) co-ownership of the company and twenty-five percent (25%) voting rights.

Exhibit Eat 3. Malteco stood to receive eight percent (8%) of the dividends from Bean Lumber's profits

during the investment period pursuant to the Terms Sheet. Id.

        43.     In the Tenns Sheet, Malteco agreed to pay Bean Lumber an initial draw of $1,000,000.00

and eighteen (18) payments of $500,000.00 following Bean Lumber's payment of the $125,000.00

"depository fee". Id. The Plaintiffs were told by Defendants John Kimmey and Andy Kirsch that they

would receive the initial $1,000,000.00 and/or "first tranche" by mid-July 1, 2010. The Plaintiffs did

not receive these funds in accordance with the Tenns Sheet and/or as promised by Separate Defendants

Malteco, Kirsch and Kimmey.

        44.     The Plaintiffs' return of the Terms Sheet and Engagement Agreement, which were signed by

both Defendant Kirsch, on behalf of Malteco, and the Plaintiffs on May 28, 2010, as well as the

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Plaintiffs' subsequent payment of the $125,000.00 depository fee, in accordance with the Terms Sheet,

indicate that the Plaintiffs were unambiguously accepting the offer made by Malteco and/or Andy

Kirsch in the Terms Sheet and Engagement Agreement. See Exhibits E and F. Furthermore, these two

contracts and the numerous emails exchanged between Defendant Kirsch, Defendant Hacker and the

Plaintiffs clearly show that the contracting parties had "a meeting of the minds" and understood and

agreed to the basic substance and terms of the contract.

          45.   Malteco, MALTEK INTERNATIONAL, SARL, Defendant Kirsch and/or Defendant

Hacker's failure to advance, pay, or fund the $10,000,000.00 investment to Bean Lumber in order to

refinance the existing facility(ies)/buildings, retire specified liens associated with Bean Lumber and

invest in Bean Lumber qualifies as a "material breach" because Malteco, Defendant Kirsch and/or

Defendant Hacker failed to perform an essential term(s) or condition(s) of the parties' written contract(s)

that substantially defeats the purpose of the contracts for the Plaintiffs.

          46.   As a result of the aforementioned Defendants' breach of express contract(s), the Plaintiffs

pray for attorneys' fees, actual damages based on their actual loss, including damages incurred as a result

of the bankruptcy of Bean Lumber, which was directly caused by the Defendants' breach of contract, lost

wages, lost business proceeds, punitive damages, and consequential damages due to the fact that: (1) The

Defendants knew that their failure to fulfill the contract(s) would result in consequential damages to the

Plaintiff and Bean Lumber; and (2) that the circumstances under which the Defendants entered into

this contract(s) were such that the Defendants knew, or should have known that the Defendants agreed

to assume responsibility for any consequential damages incurred by the Plaintiffs as a result of their

breach.




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                               IV.   CoUNT II-BREACH OF IMPLIED CONTRACf

          47.   Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.

          48.   Through the use of the Term.s Sheet, Engagement Agreement and numerous letters and

emails, Defendants Malteco, MALTEK INTERNATIONAL, SARL, Andy Kirsch and Gary Hacker

made oral promises which said Defendants should have reasonably expected would induce action or

forbearance on the part of the Plaintiffs. See Exhibits E, F and J.M

          49.   As a result of the Defendants' promises, the Plaintiffs wired $125,000.00 to Malteco

pursuant to the terms of the Plaintiffs' agreement with the Defendants. See Exhibit G.

          50.   Injustice can be avoided only by enforcing the promises made by the Defendants to the

Plaintiffs and set forth in the Term.s Sheet, Engagement Agreement and numerous letters and emails. See

Exhibits E-G and J.M

          51.   As a result of the Defendants' breach of implied contract, the Plaintiffs pray for

attorneys' fees, actual damages based on their actual loss, including damages incurred as a result of the

bankruptcy of Bean Lumber, which was directly caused by the Defendants' breach of implied contract,

lost wages, lost business proceeds, loss of reputation, mental anguish, punitive damages, and

consequential damages due to the fact that: (1) The Defendants knew that their promises would induce

action or forbearance on the Plaintiffs' part; and (2) the Plaintiffs did in fact act upon the Defendants'

promises to their detriment.




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    V. CoUNT Ill-COMMON LAW FRAUD. INTENTIONAL AND/OR NEGLIGENT MISREPRESENTATION,
                           AND FRAUDULENT INDUCEMENT TO ENTER INTO A CONTRACT

          52.   Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.

          53.   Defendants Malteco, MALTEK INTERNATIONAL, SARL, Andy Kirsch, John Kimmey,

Ben Gallinger and Gary Hacker knowingly made false                    representations and/or negligent

misrepresentations of material fact(s) to the Plaintiffs through the use of the Terrns Sheet, Engagement

Agreement and numerous letters and emails for the purpose of defrauding the Plaintiffs and inducing the

Plaintiffs to wire $125,000.00 to Malteco. See Exhibits E, Fand J,M For example:

                (a)    Separate Defendant Ben Gallinger induced the Plaintiffs into meeting a "friend

                of his" (Separate Defendant John Kimmey) that could help alleviate the financial

                problems with which Bean Lumber was dealing by making false promises of procuring a

                big loan for the company in a small amount of time.            Defendant Gallinger knew

                Defendants John Kimmey and Andy Kirsch, and also knew that Defendant Kimmey did

                not usually work with companies like Bean Lumber and that Defendants Kirsch and

                Malteco were not a reliable source of operating funds and business investment proceeds.

                (b)    Defendant John Kimmey also induced the Plaintiffs into letting him broker a

                deal between Malteco, Andy Kirsch, Bean Lumber and the Plaintiffs by making false

                promises of helping the Plaintiffs save Bean Lumber by procuring a large loan in a small

                amount of time, despite the fact that Defendant Kimmey knew that neither Defendants

                Kirsch nor Malteco typically worked with companies like Bean Lumber, that Defendants

                Malteco and Andy Kirsch were not a reliable source of operating funds and business

                investment proceeds and that Defendants Kirsch and Malteco did not pay the promised

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   and contracted investments after they received "depository fees" from the companies they

   were defrauding.

   (c)    Defendant Andy Kirsch intentionally induced the Plaintiffs into entering into a

   fraudulent contract with Malteco on behalf of Bean Lumber by offering the Plaintiffs a

   large loan in a small amount of time, collecting the $125,000.00 depository fee, which

   Defendant Kirsch claimed was required for an "insurance wrap" prior to Malteco's

   delivery of any of the promised investment funds and subsequently failing to ever make

   any payments to the Plaintiffs pursuant to the terms of the contracts signed by the

   Plaintiffs, Malteco and Andy Kirsch. Defendant Andy Kirsch entered into the Terms

   Sheet and Engagement Agreement on behalf of Defendant Malteco knowing that neither he

   nor the company had, or could obtain, $10,000,000.00 to honor their contract with the

   Plaintiffs. Despite this knowledge, Defendants Kirsch and Malteco still accepted the

   $125,000.00 depository fee and, thereafter, continuously promised the Plaintiffs that the

   .
   mvestment fu n ds were "on th.
                                e1r way".

   (d)    Defendant Gene Hacker knew of Defendant Kirsch, Kimmey, Gallinger and

   Malteco's fraudulent scheme and helped his Co-Defendants further defraud the Plaintiffs

   between September and December of 2010 by concocting reasons for Defendant Kirsch's

   unavailability, giving the Plaintiffs false hope on occasions by providing them with dates

   by which to expect the investment proceeds from Defendants Kirsch and Malteco and by

   coming up with reasons why the investment proceeds would never arrive on the

   scheduled dates.




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       54.    The Plaintiffs justifiably relied on the Defendants' intentional and/or negligent

misrepresentations in entering into the contract with Maltect and, as a direct result of these

misrepresentations, the Plaintiffs wired $125,000.00 to Malteco pursuant to the terms of the Plaintiffs'

agreement with the Defendants. See Exhibit G.

       55.    The actions of the Defendants, as alleged herein, constitute common law fraud, deceit,

and intentional and/or negligent misrepresentation, all of which allow the Plaintiffs to proceed to the

jury on the issues of compensatory and punitive damages based on the following elements:

              (a)     Plaintiffs have sustained damages;

              (b)     Defendants made false representations of a material fact;

               (c)    In the alternative, the Defendants either knew or believed that the representation

              was false, or knew that they did not have a sufficient basis of information to make the

               representation;

               (d)    Defendants intended to induce the Plaintiffs to act in reliance upon this

               misrepresentation; and

               (e)    Plaintiffs justifiably relied upon the representation in acting, or refraining from

               acting, and as a result sustained damages. The exact amount of said damages is left to the

               discretion of the jury, but the Plaintiffs are entitled to, and therefore seek, a figure in

               excess of the figure necessary to satisfy the jurisdictional limits of this Court, or any

               Court to which this matter may be transferred and/or removed.

       56.     As a result of the Defendants' intentional misrepresentations, the Plaintiffs have incurred

attorneys' fees for having to prosecute this action and has suffered actual damages, lost wages, lost

business proceeds, loss of reputation, mental anguish, punitive damages, and consequential damages,


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including damages incurred as a result of the bankruptcy of Bean Lumber, which was directly caused by

the Defendants' intentional misrepresentations.

            VI.    COUNT IV-VIOIATION OF TilE ARKANSAS DECEPTIVE TRADE PRACTICES ACT

          57.     Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.

          58.     The Plaintiffs are entitled to recover from the Defendants because the Defendants are

guilty of violating, jointly and severally, the Arkansas Deceptive Trade Practices Act codified at Ark. Code

Ann. §4-88--101, et seq.

          59.     The Defendants' violations of this statute specifically include, but are not limited to, a

violation of Ark. Code Ann. §4-88-1 07, entitled "Deceptive and Unconscionable Trade Practices" and

Ark. Code Ann. §4-88-108, entitled "Unlawful Acts."             The basis for the egregious nature of the

Defendants' actions and/or conduct has been spelled out herein.

          60.     The damages suffered by the Plaintiffs are a direct result of the Defendants' violations of

the Arkansas Deceptive Trade Practices Act and, as such, the Defendants are liable to the Plaintiffs for

actual damages, compensatory damages, treble damages by statute, punitive damages, and attorneys' fees

under applicable law. In addition to all other damages, the Defendants are also liable to the Plaintiffs

for those damages spelled out in Ark. Code Ann. §4-80-113.

                  VII.   COUNT V-AGENT IN FACT AND THIRD PAR1Y BENEFICIARY THEORY



          61.      Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.

          62.      Upon information and belief, Malteco and MALTEK INTERNATIONAL, SARL

controlled or had the right to control, in minute detail, the manner and methods used by its agents

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and/or representatives to enter into contracts with individuals and/or businesses such as the Plaintiffs,

specifically including, but not limited to the following:

               (a)     The individuals used to broker each agreement with Malteco and/or MALTEK

               INTERNATIONAL, SARL;

               (b)     The fees required of the individual(s) and/or business(es) upon entering into a

                        contract with Malteco and/or MALTEK INTERNATIONAL, SARL;

                (c)    The amount of money offered to each individual and/or business under its/his

                contract with Malteco and/or MALTEK INTERNATIONAL, SARL; and

                (d)     The conditions under which each contract with Malteco and/or MALTEK

                INTERNATIONAL, SARL was entered.

        63.     Based on the points outlined hereinabove, and the totality of control evidenced by the

facts set forth herein, and Terms Sheet and Engagement Agreement, attached hereto as Exhibits E and F,

Malteco and MALTEK INTERNATIONAL, SARL exercised minute control over the manner and

methods used by its agents and/or representatives to enter into contracts with individuals and businesses

such as the Plaintiffs so that an agency relationship existed between Malteco and MALTEK

INTERNATIONAL, SARL and Andy Kirsch Lucuano Zambrella, Gary Hacker, Gallin Group

International, Ben Gallinger, Admiral Insurance Company, Behnke & Associates Insurance, John

Kimmey, and/or, as appropriate, any John Doe Defendant generally named herein.

        64.     In the alternative, because Malteco and MALTEK INTERNATIONAL, SARL did

exercise minute control over the day to day activities of Andy Kirsch Lucuano Zambrella, Gary Hacker,

Gallin Group International, Ben Gallinger, Admiral Insurance Company, Behnke & Associates

Insurance, John Kimmey, and/or, as appropriate, any John Doe Defendant generally named herein,


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Malteco either knew, or should have known, that the co-Defendants named herein were incompetent

and/or dishonest in some manner, or otherwise incapable or unable to perform the necessary acts and

deeds promised, and the Plaintiffs would sustain damages as a result of same.

          65.   The Terms Sheet and Engagement Agreement between the Plaintiffs and Malteco listed

Grady Bean individually, and as a member of the class of individuals said contract(s) sought to benefit as

Vice President and CEO of Bean Lumber.             As such, the Plaintiff, Grady Bean, is a third party

beneficiary of the contract at issue, with the concurrent right to recover based on the tortious acts of

Malteco, and the breaches of contract and other wrongdoing spelled out in each and every Count of this

Complaint. Additionally, Plaintiff Grady Bean is entitled to recover for any and all breaches of the

contract which were a proximate cause of the damages the Plaintiffs sustained.

          66.   In addition to compensatory damages prayed for by the Plaintiffs heretofore, the

Plaintiffs are also entitled to seek punitive damages from the Defendants because the Defendants knew,

or should have known, in light of the surrounding circumstances, that their conduct would naturally

and probably result in the Plaintiffs being damaged, and continued such conduct with malice, or in

reckless disregard of the consequences from which malice may be inferred, or, the Defendants

intentionally pursued a course of conduct for the purpose of causing the Plaintiff to incur the damages

prayed for herein.

    VIII. CoUNT VI-VIOLATION OF THE PRIVATE SECURITIES LITIGATION REFORM Acr OF 1995
                             PuRSUANT TO 15 U.S.C. §78U4

          67.   Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.

          68.   The Private Securities Litigation Reform Act of 1995, set forth in 15 U.S.C. §78u4(b), states:

                     Requirements for securities fraud actions

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                     (1) Misleading statements and omissions
                     In any private action arising under this chapter in which the
                     plaintiff alleges that the defendant-

                         (A) made an untrue statement of a material fact; or
                         (B) omitted to state a material fact necessary in order to make
                         the statements made, in the light of the circumstances in
                         which they were made, not misleading;
                         the complaint shall specify each statement alleged to have
                         been misleading, the reason or reasons why the statement is
                         misleading, and, if an allegation regarding the statement or
                         omission is made on information and belief, the complaint
                         shall state with particularity all facts on which that belief is
                         formed.

                     (2) Required state of mind

                         (A) In general
                             Except as provided in subparagraph (B), in any private
                             action arising under this chapter in which the plaintiff
                             may recover money damages only on proof that the
                             defendant acted with a particular state of mind, the
                             complaint shall, with respect to each act or omission
                             alleged to violate this chapter, state with particularity facts
                             giving rise to a strong inference that the defendant acted
                             with the required state of mind.

       69.    Defendants Malteco, MALTEK INTERNATIONAL, SARL, Andy Kirsch, Lucuano

Carmino Zambrella, John Kimmey and Gary Hacker knowingly and recklessly made untrue statements

and representations of material fact to the Plaintiffs through the use of the Terms Sheet, Engagement

Agreement and numerous letters and emails for the purpose of inducing the Plaintiffs to wire

$125,000.00 to Malteco. See Exhibits E, Fand J..M For example:

              (a)    Separate Defendant Ben Gallinger induced the Plaintiffs into meeting a "friend

              of his" (Separate Defendant John Kimmey) that could help Defendant Gallinger knew

              Defendants John Kimmey and Andy Kirsch, and also knew that Defendant Kimmey did



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   not usually work with companies like Bean Lumber and that Defendants Kirsch and

   Malteco were not a reliable source of operating funds and business investment proceeds.

   (b)    Defendant John Kimmey induced the Plaintiffs into letting him broker a deal

   between the Plaintiffs, Malteco and Andy Kirsch by knowingly and recklessly making

   false promises of alleviating the financial problems with which Bean Lumber was dealing

   by arranging the procurement of a large loan for the company in a small amount of time,

   despite the fact that Defendant Kimmey knew that neither Defendants Kirsch nor

   Malteco typically worked with companies like Bean Lumber, that Defendants Malteco

   and Andy Kirsch were not a reliable source of operating funds and business investment

   proceeds and that Defendants Kirsch and Malteco did not pay the promised and

   contracted investments after they received "depository fees" from the companies they

   were defrauding.

   (c)    Defendant Andy Kirsch knowingly and recklessly induced the Plaintiffs into

   entering into a fraudulent contract with Malteco on behalf of Bean Lumber by offering

   the Plaintiffs a large loan in a small amount of time, collecting the $125,000.00

   depository fee and subsequently failing to ever make any payments to the Plaintiffs

   pursuant to the terms of the contracts signed by the Plaintiffs, Malteco and Andy Kirsch.

   Defendant Andy Kirsch entered into the Terms Sheet and Engagement Agreement on behalf

   of Defendant Malteco knowing that neither he nor the company had, or could obtain,

   $10,000,000.00 to honor their contract with the Plaintiffs.     Despite this knowledge,

    Defendants Kirsch and Malteco still accepted the $125,000.00 depository fee and,




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               thereafter, continuously promised the Plaintiffs that the investment funds were "on their

                 "
               way.

               (d)     Defendant Gene Hacker knew of Defendant Kirsch, Kimmey, Gallinger and

               Malteco' s fraudulent scheme and helped his CoDefendants further defraud the Plaintiffs

               between September and December of 2010 by knowingly and recklessly concocting

               reasons for Defendant Kirsch's unavailability, giving the Plaintiffs false hope on occasions

               by providing them with dates by which to expect the investment proceeds from

               Defendants Kirsch and Malteco and by coming up with reasons why the investment

               proceeds would never arrive on the scheduled dates.

       70.     The Plaintiffs relied on the Defendants' intentional misrepresentations of material fact

and wired $125,000.00 to Malteco pursuant to the terms of the Plaintiffs' agreement with the

Defendants. Although the Terms Sheet and Engagement Agreement, signed by both the Plaintiffs and

Defendant Andy Kirsch, on behalf of Malteco, specifically stated that Malteco would invest

$10,000,000.00 into Bean Lumber following their receipt of the Plaintiffs' $125,000.00, Malteco,

MALTEK INTERNATIONAL, SARL, Lucuano Carmino Zambrella, Gary Hacker and Andy Kirsch

failed to send any investment funds to the Plaintiffs.

       71.     As a direct result of the Defendants' intentional misrepresentations, the Plaintiffs have

incurred attorney's fees for having to prosecute this action and have suffered actual damages, lost wages,

loss of business proceeds, punitive damages, and consequential damages, including damages incurred as

a result of the bankruptcy of Bean Lumber.




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  IX.     COUNT VII-VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT ORGANIZATION ACT
                        (''RICO") BY WIRE FRAUD PuRSUANT TO 18 U.S.C. §1343

          72.    Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.

          73.    Defendants Malteco, MALTEK INTERNATIONAL, SARL, Andy Kirsch, John Kimmey,

Ben Gallinger and Gary Hacker knowingly and intentionally made false representations to the Plaintiffs

through the use of the Terms Sheet, Engagement Agreement and numerous letters and electronic

communications for the purpose of defrauding the Plaintiffs and inducing the Plaintiffs into wire

$125,000.00 to Malteco in violation of 18 U.S.C. §1343. See Exhibits EGand J.M.

          74.    It was reasonably foreseeable that interstate wire communications would be used in

furtherance of this scheme, as Defendants Kirsch and Malteco specifically requested this form of

monetary exchange.

          75.    Interstate wire communications were in fact used in furtherance of the Defendants'

fraudulent plan to knowingly and intentionally induce the Plaintiff into wiring $125,000.00 to Malteco.

See Exhibit G.

          76.    As a result of the Defendants' knowing and intentional false representations, the

Plaintiffs have incurred attorneys' fees for having to prosecute this action and has suffered actual

damages, lost wages, loss of business proceeds and consequential damages, including damages incurred

as a result of the bankruptcy of Bean Lumber, which was directly caused by the Defendants' intentional

misrepresentations. Therefore, pursuant to 18 U.S.C. §1343, the Plaintiff prays for his attorneys' fees

and for treble damages to be assessed against the Defendants herein.




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                X.    COUNT Vlll-PARTIAL PAYMENT AS ADMISSION AND/OR IMPLIED PROMISE

          77.        Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.

          78.        In the alternative, due to the actions and/or inactions of the In light of Bean Lumber's

bankruptcy, Separate Defendants Malteco and Andy Kirsch, through their attorney, decided that they

could not honor their contractual agreement with the Plaintiffs and instead agreed to refund the

Plaintiffs' $125,000.00 in $12,000.00 payments made every other week. See Exhibit U, attached hereto.

          79.        On May 11, 2011, the Plaintiff received $25,000.00 from the Defendants. See Exhibit V,

attached hereto. The Plaintiffs have not received any other payments from the Defendants since this

initial payment of $25,000.00, despite the fact that the Plaintiffs have continued to ask the Defendant's

attorney about said payments himself, and through his attorney.

          80.        Partial Payment is treated as an admission of the continued existence of a debt and an

implied promise to pay the balance.             Johnson v. Spangler, 176 Ark. 328, 2 S.W. 2d 1089 (1928).

According to the Arkansas Supreme Court:

                            The part payment must be under such circumstances as
                            reasonably, and by fair implication, lead to the inference that the
                            debtor intended to renew his promise of payment and must have
                            been made by the debtor in person, or by someone authorized by
                            the debtor to make a new promise on his behalf.

Id. (citing Taylor v. Foster, 132 Mass. 33).

          81.        The correspondence from Defendants Malteco and Kirsch's attorney, attached hereto as

Exhibits Vand W, along with the Defendants' partial repayment of the Plaintiff's $125,000.00, clearly

show that the Defendants intended to renew their promise of payment through the use of their attorney.




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                                              XI. DAMAGES

          82.   Plaintiffs incorporate by reference the preceding paragraphs as if they were fully set forth

herein.

          83.   Plaintiffs are entitled to actual, compensatory, and/or punitive damages for the reasons

stated and alleged in each and every Count of this Complaint, as spelled out hereinabove. In many of the

Counts, the measure of damages to which the Plaintiffs are entitled are spelled out therein and/or in the

applicable statute(s) and/or the statutory relief/damages to which the Plaintiffs are entitled is

designated. The Plaintiffs' cause of action, as spelled out herein, is difficult to quantify numerically at

this stage of the proceedings. These damages specifically include, but are not limited to:

                (a)    Actual damages based on their actual loss, including damages incurred as a result

                of the bankruptcy of Bean Lumber, which was directly caused by the Defendants' breach

                of express and implied contract;

                (b)    The value of any earnings, profits, salary, and working time lost and the present

                value of same reasonably certain to be lost in the future;

                (c)     The present value of any loss of ability to earn in the future;

                (d)     Lost business proceeds;

                (e)     Loss of reputation;

                (f)     Pain, suffering and mental anguish;

                (g)     In addition to compensatory damages to which the Plaintiffs are entitled, the

                Plaintiffs are entitled to punitive damages to punish the Defendants, and to deter others

                from similar conduct, because the Defendants knew, or should have known, in light of

                the surrounding circumstances, that their conduct would naturally and probably result in


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               the Plaintiffs being damaged, and continued such conduct with malice, or in reckless

               disregard of the consequences from which malice may be inferred. Furthermore, the

               Defendants intentionally pursued a course of conduct for the purpose of causing the

               Plaintiff to incur the damages prayed for herein;

               (g)     Consequential damages due to the fact that: (1) The Defendants knew that their

               promises would induce action or forbearance on the Plaintiffs' part; and (2) the Plaintiffs

               did in fact act upon the Defendants' promises to their detriment;

               (h)     Attorneys' fees for having to prosecute this action;

               (i)     All damages spelled out in the Arkansas Model ]ury Instructions, or any other

               appropriate jury instructions; and

               G)      Should the Plaintiffs decide to pursue a class action in these proceedings, they are

               entitled to all damages recoverable in a class action proceedings, as per applicable law.

       84.     The Plaintiffs also pray that they recover any and all damages for the causes of actions

spelled out herein, and each and every Count spelled out herein, cumulatively.             These damages

specifically include, but are not necessarily limited to, all damages statutorily defined, and those arising

out of common law, for the actions of the Defendants, as spelled out herein.

       85.     The Plaintiffs are unable to put a specific figure on the dollar amount to which they are

entitled until after sufficient discovery has transpired, due to the fact that the predicate acts which form

the basis for the Plaintiffs' cause of action are facts which are within the particular/special knowledge of

the Defendants. However, the damages to which the Plaintiffs are entitled are within the jurisdictional

limits of this Court, or any Court to which this matter may be transferred and/or removed.




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        86.      The Plaintiffs specifically reserve the right to amend this Complaint, at any time, and

within their discretion, to appropriately modify the elements of the damages to which the Plaintiffs are

entitled, and to specifically put a numerical value on each and every element of damages spelled out in

the body of each Count of this Complaint, or in the "Damages" section to same.

        87.      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Plaintiff hereby demands a

trial by jury on all issues so triable.

        WHEREFORE, the Plaintiffs, by and through their attorneys, the Boyd Law Firm, respectfully

pray that they recover the damages requested herein, as spelled out in each and every Count of this

Complaint, and those listed in the Damages section hereinabove, whether same be statutorily defined, or

arising out of common law, that said damages include actual, compensatory damages and/or punitive

damages for the reasons spelled out herein, in an amount left to the sound discretion of the Jury, but in

an amount to satisfy the jurisdictional limits of this Court, or any Court to which this matter may be

transferred and/or removed, for their attorneys' fees and all cost herein expended, and for all other

relief to which they are justifiably entitled.


                                                        Respectfully submitted,


                                                        THE BOYD LAW FIRM
                                                        P.O. Box 3494
                                                        Little Rock, Ar
                                                        (501) 3 ..077
                                                        (501) 3 -1


                                                        Sty nie Ann Linam
                                                        Xrk. Bar No. 2007-132
                                                        Charles Phillip Boyd, Jr.
                                                        Ark. Bar No. 82..023



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                                                                               VERIFICATION


State of Arkansas                                      )
                                                       ) ss
County of Pulaski                                      )

        I, Grady Bean, do hereby swear and affirm that the facts set forth in this Complaint are true to
the best of my knowledge and ability.

               Dated this the lOth day of December, 2013.




               SUBSCRIBED AND SWORN TO before me this lOth day ofDecember, 2013.




                                                                                              ~~~
                                                                                          Notary Public


My Commission expires: .2-t                                   t> ...   a   ~

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                                                AFFIDAVIT

        Comes the undersigned, Stephanie Ann Linam, Attorney for the Plaintiffs, and does solemnly swear

the following facts and information are true and correct to the best of her knowledge and belief.

        1.      I have prepared and served a Complaint as the Attorney for the Plaintiffs in a lawsuit

entitled Bean Lumber Company, Inc. and Grady Bean v. Malteco Business Consulting Group, Inc, et al. in the

United States District Court, Eastern District of Arkansas, Western Division.

        2.      I do not know the names of John Does 1-25, said designation representing the liability

insurance carrier(s), if any entity raises Charitable Immunity and the evolving law mandates a direct action.

As a matter of prudence, a direct action is brought against the insurance company(ies) that are the liability

insurance carrier(s) for Malteco Business Consulting Group, Inc., a/k/a Malteco Business Consulting

Group and/or Malteco Business Consulting, MALTEK INTERNATIONAL, SARL and/or the Gallin

Group International.

        3.      I do not know the names of John Does 26-50, said designation representing any and all

employees, the Estate of any Defendant who predeceases service of the Complaint, the insurance carrier for

the Defendant(s) and/or entity if a direct action is allowed, required, or proper pursuant to applicable law

and/or agents acting on behalf of Malteco Business Consulting Group, Inc.             a/kla Malteco Business

Consulting Group and/or Malteco Business Consulting, MALTEK INTERNATIONAL, SARL and/or the

Gallin Group International who assisted and aided, contributed to and/or benefited directly, or indirectly,

from the injury complained of herein.

        4.       I do not know the names ofJohn Does 51-75, said designation representing the principal of

any and all of the individual Defendants, whether named specifically herein or named as a "John Does

26-50", as said entities are vicariously liable for any and all acts of negligence/fault perpetrated by their

employees and/or agents.

        5.       I do not know the names of John Does 76-100, said designation representing all general

partners or individuals and/or entities having an interest subjecting them/it to liability as a separate


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entity for the acts of negligence and/or fraud alleged herein.

        6.         I do not know the names of John Does 101-125, said designation representing all

individuals and/or entities who aided, abetted, assisted, and/or conspired with the Defendants to engage in

unconscionable, false and/or deceptive act(s) and/or practice(s) in business and harmed, defrauded and/or

fraudulently induce the Plaintiffs into entering into a contract with Malteco, and/or provided promises to

the Plaintiffs which caused them to delay seeking other means or avenues to prevent the injuries and/or

damages they have sustained, at a time when said damages could have been alleviated and/or mitigated.

        7.         Upon determining the identity of all of the individuals and/or entities generically

designated herein as John Does, and all of those responsible for making false representations to the

Plaintiffs in an effort to induce the Plaintiffs into entering into contracts with the named Defendants herein,

those who breached any contract that resulted in injuries or damages to the Plaintiffs, those who violated the

Securities Litigation Reform Act and the RICO Act, and the names of any entities immune from liability except

for their liability insurance, I will timely amend the Complaint that has been filed, if necessary, to specifically

designate the names of the individuals/entities in question, and the insurance companies to the extent

required by law.

        8.         This Affidavit is filed in accordance with Arkansas C de Annotated§ 16-56-125.




                                                  VERIFICATION

        SUBSCRIBED AND SWORN TO before me, a Notary Public, on this lOth day of December,
2013.



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                          MALTECO
                          Business Consulting Group, Inc
                          Transaction# 141-03-30"10-PF-AK




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                     MALTECO
                    Business Consulting Group, Inc
                    Transaction# 141-03-30-lO-PF-AK




                                                             ENGAGEMENT AGREEMENT



                    Parties: .                                                . .,.
 . '.,'.•           This Agteement-.. made this April 6, 2010 by and                                                BUSINESS CONSULTING,. INC, a
                    corporation . r~gl~tered In Dallas Texas, whose address Is 1                                         Ill Lane Sui~e .1.2,0,· lrv!ng,
                    Texas 7.5Q36,··herelnafter              referred   to as uMALTECO"        or   "Consultant"                Fenc.e .lA. $.i!PPIY Co._., a
                    corporation.     ~~giSte~ed in Ui!ited States.~/ America, Its agents, successors or.                        her~lnaft.er r~ferred to
                    as   "Client'~~· w."io~e address Is 30l S. Highway 371 Crossroads, TX 16227                                              .,   '




            .··,,          .··. ·whe~e·~s. torisutta~:~t rs tn the                                 ng management     consul~ing. ·~E!rvices ·to'
                            ' .: ~~s.in~sses.   In   an   effort to obtiJin                           parties fC!r ·business· 'tis~.': indu'di~g · · · ·
                         , · . · e·quipment'                                                             cing, factoring and financiri.g for ·
',·.,' '                      ·.lancJ.:,:and·                                                                     whereas Client desire's to ·




                                                                                                      as an Intermediary.

                    General:
                                    . For and in r.onslderatlon of                    benefits, promis~s. and the ·r.ross consideration
      '"··>:,,,,..~. ih ...., •. ,~"i.·hlir~iri~he·r setfori:h;'.the adequacy
                                                                       'Is hereby acknowledged; the part'fes"h'e~~to;·
                              MALTECO and Titan Fence & Supply Co. collectively 1'THE PARTIES", hereby covenant and
                              agree as     follows:

                         1. Setvices


                         A. MALTECO is hereby engaged by Titan Fence & Supply Co. to ptovlde capital funding services
                              (non-exclusive) including serving as an Investment banking liaison, and acting as capital
                              consultant for a three month period from the date heteof. MALTECO shall contact
                              institutional investors, arrange presentation of the Company and arrange conferences with
                              capital sources {the "term").
                             4 1825 W. Walnut Hill Lane Suite 120 Irving, Texas 75038 972-331-2557 fax 972-331-2562
                               admin@malteco.com
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                                B.      MALTECO is engaged to provide capital structure, working capital, equipment financing,
                                        merger and acquisition, and reorganization consulting services to Titan Fence & Suppfy Co.
                                        for purposes of attempting to capitalize the company for a three month period from the
                                        date hereof.

                                2. Compensation
                                        Titan· Fence & Supply Co. hereby agrees to pay MALTECO for the services set forth In
                                        Paragraph 1, the following items:

                                a.. ::man Fence & Supply Co., shall pay MALTECO BUSINESS CONSULTING GROUP; INC. $10,000
                                 ..... :(ten thousand uso)· as cash retainer..                  ·. .                      ·.· ·- ,: :....;··. ·
                               .b •.·. Re~qgnizing that MALTECO ha~ extensjVe sou            'Venture capital, coupled wlt.h brok.~rage ..... ·. ..    .    .,
                                     · Industry .contacts, Titan .Fence & ~upply                   .a~rees to pay MALTEC(:). for the. ~-:Z..· '56-fo- . , .
                                      . cort's~ltlng ~·e;.;,ices ·~et forth In' .Pa~~graph         fee of FM perceRt -{S9~(f~Jclusive
                                    . :of''all 'tees, In cash of the' amount 'of .         as a result of contacts by MALiECO. such             A (\ l     L


                                    .. fees .shall be due at closing of any                   in wh           TECO has acted as ·the · ~ ·
                                 , . introducing person. Any party so introduced                           & Supply Co, shall be pre-
                                 ,.:. approved In writing by Titan Fence & Supply                       fist of introductions shall be
                                        maintained by consultant. . ·                                                              .· , .

                               '3. ·.   tern1ina Uon of Ag.-eement ·                                                                            · .... ·
                               A. Upon the ba                                        idation of.the other party,.                ry or involuntary;
                                B.·. u.pon.the other                                      be'nefitof any insolvency law;                     .... ·: .,
                              · G; .. u·po~·~the                                           .applying for a receiver appointed for either party; .and/or.
                                        written     n'oiice                                 'other party.                                     . . . .



                                4.      Notices
                                        All notices hereunder sha                                               to the party at the address herein set
                                        forth, or at such other                                                to this section may be given, and shall
                                        be glven upon the earlier of
•. ~.,   ~f.\'•! •t·~ 7 .1:. tO'!;':\ •l;Ri>:~;~e.IJ.v.er.~~ :~.0 su~l.~ caur,it~r: ..Sjj!lV.l~e.: .
                                                                                     . .to be given h_er~under<.shall ·be:-\ef(~¢.~W~~·if:..~ ' ..;;,','   r .:· ... ,.,, .... ,. I•

                                        executed by and/or sent by the attorneys for THE PARTIES giving such notice and, in
                                        connection therewith, THE PARTIES and their respective counsel agree in giving such notice
                                        such counsel may communicate directly in writing with such party to the extent necessary to
                                        give such notice.



                               S.       Attorney Fees
                                        In the event either party Is In default of the terms or conditions of this Engagement
                                        Agreement and legal action is initiated or suit be entered as a result of such default, the
                                        prevailing party shall be entitled to recover all costs incurred as a result of such default
                                        5   1825 W. Walnut Hill lane Suite 120 Irving, Texas 75038 972-331-2557 fax 972"331-2562
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                              including reasonable attorney fees, expenses and court costs through trial, appeal and to
                              final disposition.

            6. Time Is ot' tbc Essence
               Time is hereby expressly made of the essence of this Engagement Agreement with respect to
               the. performance by THE PARTIES of their respective obligations hereunder.

             7. Inurnment
                  . ·This Engagement Agreement shall inure to the benefit                                                                                                                                binding upon THE PARTIES
           .. . ·. h~rbtd .and .their' respective'' heirs, executors;  .                                                                                                                                  perso~al r~pr~ig~\~tives,                                                                                                           · ··
                                                                                                                                                                                                                                         .        ·;~t·    . \ ·.. . .. ' ... ',                    ' . '. . . . .                . '~ ; ..... : . ; '
              '• .'.~~ccessors, a~d consultant caii.not assign this ..
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            R.' · .Entire Agreement                                                      :·. '                ·. ··                    · ...                          .. · · · · · · ··                                                               '•     .                                                               ' .. ·.,; . .
             : .. ··;.this Engagement Agreement:coritains the entire i'greement THE                                                                                                             of                                  . it'~· d,e~la red
                  ·· by .'THE. P~."R!IE~· that 'the~e 'are other oral ~tltten agreements                                          ·rio·                               qr                                                             ·.... · ..,~ding. ·;·                                                               ~· . .   I       ,




           · ·,. ., ti~tween .ther:n. affecting this ~greement. T~is. Agreement                                                                                                                                                                                             s.               •, '
             .. ·..               '   .   '.           '   '                                  ....
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            9. Amendnumts
           - ,., · T-h)s•Ag~eement may be modifie~                                                                                                                                   such modifications or:.ar.riendments .
              · are ·mutually .agreed upon bY· and                                                                                                                                                        nd that Said" modifications' , ' "'                                                                        ', '' •I'
            ·,, ':        oi·~meodmerits                           are rna de orily 'by 'ari ..                                                                                                         byTHEPARTIES!''''                                            :.r :·                 ·~·, ..        ·          :··~:·:;:                     ···
                     .        ;                                                          ••      ::       1        :· •           •         ,




            10. Waivers                                                                                                   .
                          No wajver of any provision or condition of                                                      ment shall be valid unless executed In
                                                                                by the party to be bound                 and then only to the extent specified In
                                                                                                                             of this Agreement and no present
                                                                                              r condition of this Agreement shall be construed as a future waiver

                                                                                                                                                                .                     .
                                                                                                                          •t. ·       ,~ ·f'·;r~i.•: ·•·•··..   .,. ·. · · · ·• · .:· ,'!;':'·:::!~· ·· :' ,· ':'j ::·:: :... ~ :!=:~.~~f~\.=t~~~1rr.-.-. . '·" ·~ ':;..~:.. (, . ·.= , .,                       ••, ••,..   ,,.1, ~ ..       ::t\~o·     •


                                                                                                                   time, to require any such performance by any other party
                                                                                                                    of such right to require such performance, and shall in no
                                                                                                                  require such peliormance and shall in no way affect such
                                                                                                              require a full peliormance hereunder.

            12. Construction of Agreement
                Each party and its counsel have participated fully In the review and revision of this
                Agreement. Any rule of construction to the effect that ambiguities are to be resolved
                against the drafting party shall not apply In the Interpretation of this Agreement.


                     6                1825 W. Walnut Hill Lane Suite 120 Irving, Texas 75038 972-331-2557 fax 972-331-2562
                                      admln@malteco.com
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              13. Non-Circumvention Agreement
                   Titan Fence & Supply Co. agrees, represents and warrants hereby that it shall not
                   ci(Cumvent MALTECO with respect to any banking or lending institution, investment bank,
                      trust, corporation, individual or investor introduced by MALTECO to Titan Fence & Supply
                      Co. pursuant to the terms with MALTECO for the purpose of, without limitation, this
                      Agreement and for a period of twelve (12) months from the date of execution by THE
                      .PARTIES of this Agreement. If rnan Fence & Supply Co.          into a transactio.n with a
           . . .:· .,.party introduced by consultant, then the fees owed                2a shall be due whether
                   .. or not this Agreement or term has ended.                                                                                                                                                                            '    ..
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                                                                                                                                                   ADDENDUM !'B". '
                                                                                                                                                                                                              . .. . .
           · 14·. Appllca~le Law              . .    .. .          .         . .                                                                                                                                     . '·, . :
           ··          THIS·AGREEMENT IS EXECUTED PURSUANT TO AND SHALL BE I
                    ' FOR "All 'PURPOSES' BY THE LAWS OF THE 'STATE'O.F TEXAS FOR WH
           · ·, · · ·OALLAS, TEXAS SHAll HAVE JURISDICTION IAiiTHOUt GIVING EFFECT TO                               ()R
             .'·.: ' (Aws· 'dR CONFLICT OF LAWS, RUlES THEREOF OR OF ANY STYLE. The parties. agre'e 'that '
                  ... ; medl~tion shall be used as an lnltlal forum for the good-faith attempt to settle and resolve
                  ·. ·any·issuesordlsputes·that'mayarise.          ·. •:.:::   ··· ·                     '····· : ·                                                                               .•    ..· : .
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                                                                       in a
                                                                     nal for all purposes and all such counterparts shall,
                   collectively,                                          but,-I!'Lmaklng: proof of this Agreement, It shall not
                   be necessary to prod

              1.6. F11csimile
                   A facsimile copy of this

          · ,,. ~ 7r,~~~ceP.~,ll~~ o.fA8,~C~J.l~e~~. .   ,, ... !'                                          ., ..• ·: .. · ..   • .... ·' .... ·   . , ....; .,; ;:•,:;\, ,., '.":.   . .... ::
                 · Unless botl'i parties have 'signed th     nt within FIVE (5) business days"of the date·
                   listed above, and the engagement fee has been paid, this Agr"eement shall be deemed
                   automatically withdrawn and terminated.

              18. Interstate Commerce
                  The Consultant shall undertake to comply at all times with Section 17~b of the Securities Act
                   of 1933.




                  7    1825 w. Walnut Hill lane Suite 120 Irving, Texas 75038 972-331-2557 fax 972-331-2562
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                 19. Acceptable Form& of Agreement
                                The Client recognizes that this is a binding contract. The contract has to be submitted in
                                electronic form via email or fax submission. A hard copy has to be sent via overnight FED EX
                                to the office of Malteco Business Consulting Group, Inc.


                       TO:
                       MALTTICO BUSINESS CONSULTING GROUP, INC
                  ··. W. WALNUT HILL LANE, STE 120         .
                   ,.:.JRVING;TEXAS·75038 ':           .·.
                       UNITED STATES OF AMERICA
                                                   .. '
                           . The· Client has to submit the signed and NOT
                       "
                           . ·In
                               ..
                                  'between 48-72. hours the



                 2'd." onsi'tc 1.nsp~c.1ion requlr.e~eut:s     .. . '                                                           ::; . : '
                     . tn case an ONSITE'INSPECTION is required by the le                                  ending institution," the Cli:~nt, Titan ·
                                                            to
                     :'Fence.&.$upply Co.~ has c6ver the cost Oft.~e                          'agents.         .rement of'~n dnslte· inspection             .   ~ ~       '            . :'

                       ·' (itlie p·~oject. wlil. b~ dete.iinined before any· io.~~ crirrim                        II be give~.:rhe. clie~t h~s:t~ . ': ..   I         '       '   ~•




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                 . ·:.·.:..'re~tal·car:or .                                   the   hot~t·.~rr:a:ngements ('at leasr4-Star st~~dard).       ·'                  . ,r ,,,,.,' ..


                                P..er day, a fee




                                n    Yes             @.No

           ...    .,       :~   {    ''    .... ,·          .   '   /   ',.




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                              admin@malteco.com
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                                IN WITNESS WHEREOF, THE PARTIES have set forth their hands and seal in execution of this
                                Engagement Agreement this AprilS, 2010 by and between:



           S.IGNATURE' ·                                                                                                                                                           ·:',I

            MALTECO BUSINESS CONSULTING GROUP, INC . , · :: .· 'Titan Fence & Supply Co
                                                                                                 '.'•'
                                                                                                              ·.::                                                                                    .. ··

                                                                                                                By: Ca.ra Sorenson, CEO                                    .                      ·
                      ..
            By: Willy Andreas Kirsch, Director
                                                             .     :
                                                                                                                Date: .   ~· 'WWtft{fl·                          ·   +1.0 (W'.....()
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            Date:                                                                            . . :,' bl· .                                                                         "   ~,   .'.

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                                                                                                         I
                                                                                                     :;




                                                                                                                                                    CINDY OSBOFlNE
                                                                                                                                                MY COMMISSION EXPIRES
                                                                                                                                                     October 31,2012

                                                                                                                                                      (Stamp:)


                                                                                                               Date: .....4../.&..Jl.Q................................................................
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                                                            ADDENDUM "A''
                                                              Project Scope

                  Project Activities: MAlTECO BUSINESS CONSULTING GROUP,                        providing funding services, shall
             ·· perform the following project specific functions and merge                    efforts with Titan Fence & Supply
                  Co. ·.resources; as .needed. The emphasis of this                           be personal Introductions of Titan·
              . Fence & Supp(y·CQ. to money managers, pr~ate                                     hedge .fundmimagers, .pensiqn
               '              '           '   "   '   '            I


                 .fund managers,.,.financlal analysts, institutional
                · wholesal~/retail l')'lark~t .makers. All out·Qf
      ,•',        distributions, etc.) shall be pre-approved and

                   Standard Activities:

       ·;·,, · · ·:o· •·conduct:and implement strategic planning analysis
                        diligence and MAlTECO In-house analysis tools         to emp
..,                .o .··Coordinate                        brokerage ·rese~rch coverage·!               Titan Ferice & supply Co. · ·
                       ··to.these.                             'instit'utiona·i·research. This provides Titan ·~ence·& Supply co.· .' . .
                         and MALTECO                                from funding services.                         ·
                                                                   , ' ' ' '•,d,   'I




                   o    Collecting the from the client          project      Executive Summary for mail·out I distribution,
                        which Is flexible and updated to             developments of the Titan Fence & Supply Co
                                                                                                                                            ..   •'


                   0
                   o    Plan marketing campaign matching Titan Fence & Supply Co. to MALTECO proprietary contact base
                        and other investment prospects I sources anchored by Internet presence


                   o Target of one on one Institutional investor meetings and conference calls with the most desirable in
                        microcap, small cap and mid cap decision making analysts and portfolio managers of corporate,
                        business and family funds

                   o    Corporate message refinement that Is flexible according to ongoing developments


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              o    Tele-conference call, including scr.lpting, Q&A preparation, and thorough details for successful
                   presentation

              o    Honest feedback from all meetings to allow complete knowledge of ongoing relationships and
                   enhancements of messaging

              o    Development of Analysts research coverage and comparable Inclusion

              o    Nurture of current and potential investors ..
                               .· ..... :                                                                                   \''   .. :·.··
              o    Mail processing and request fulfillment
                               .      '•               ... ': ··.: .:.·
             "o · lnvestment'Banklng Introductions ..... · ·." ·,., .
                                                           ... ;,                                            ',.,




              Project relatEid activities and funding steps as

                                                                                                             ",',•    '·'

                       '
          Please insert the specific project activities

                                                          . ·....... · .··· .... · ..                        •'•,•'                   •'   '1,   I


                                                                  ' .'. ' ~ ; ' . : ;'· ' .·, ..




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                                                      ADDENDUM 41 B"
                           CONFIDENTIALITY AND NON-DISCLOSURE AGREEMENT




           . . This Confidentiality and     Non~Dlsclosure Agreement                           its execution. from Tuesday,
               April 06, 2010/ by··and between MALTECO.·BUSIN                                      P, INC. (the ;'Di~clbse~").
               and Caro Sorensen. Pas~port No. . ·· : (the "Recipient"), to·                       their parent, subsidiaries
             ' and: affiliates collectively, the "Discloser'! and· "Recipient" are som               llectively referred to as
                                                       to
               the "Parties" and individually referred as'a "Party" .
                                                              .   \   ...

              WHEREAS; Disdoser:is revealing                                I sources to assist In the procurement ofProjed.
              funding through Banks, Investment                               Funds or Private Placement Transactions ·and.
              Subsequent Transactions that the



              WHEREAS, the rela.tionships may be created.                   Discloser's introductions may lead to the raising
                                      and/or entering into                    ture or entering into other similar business
                                                                               ugh their third party contacts the ("Possible




                                                       available in connection with the Possible Transaction, certain
              Information                                 concerning the Possible Transaction and the Business that
              may Include                         etails of, the Business, its organization, finance and technology, as
              well as details of the             Transaction, which the Discloser deems to be Confidential and
              Proprietary;



              WHEREAS, the Discloser is wllllng to disclose such information and documentation to the Recipient
              on the condition that such Information remain confidential pursuant to the terms and conditions of
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                      admin@malteco.com
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                           this Agreement. Recipient's Information, 3rd party contacts, etc. will also remain confidential
                           pursuant to the terms and conditions of this Agreement.




                           NOW, THEREFORE, in consideration of their mutual promises herein, and other good and valuable
                           consideratio·n, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as
                           follows:
                                                                                    ,:• :··   ··..                                                 •••   ',   '1,\•



                                            •,•.                            .   '                                                      ,l    ••      '   ...    '


                     1.0 Definitions.as·.used
                          . '     ' .    .    herein:
                                                   '
                                                                                                                                       (',    ...... :')' :;)•'\,,
                       · · /'Confidentiahlnformation" shall me~n                                     de, any and all technical and            non-t~chnlcal
                            .Information :belonging to the Discloser,                                ut not limited to, copyri~ht, .trade secret and
                           proprietary Information, Intellectual property s                                        ns, legal documents, techniques,
                           drawings, models•. know~how, processes, software,                                       arch and development activities,
                         · apparatus, eq.uipment, software programs, methods,
                           aryi                                             *itt\out ..
                                             the. Busi.ness, and includeS,;·.                      limitati9n,       nformation . 'concerning .~e~e.ar~h,.
                                                                                                                                                                            .   •'
                                       d~velopm~nt;- .b.Uslness models, ffnahcial projections                                ns, ·'engineering, financial'
                                       i~formatlon,.       ··                  ·          · · busin~ss plans, mana         nt, earnings, marketing and
                        .:                                                         ng ·pfari~-and information and all other aspects of the Business.
                                                                                         without limitation, its assets, liabilities, profitability, policies
                                       and financial ...                                co'ntacts,. sources of funding and technology partners.                                 :·.
                                                                                                        'in written, visual or oral form. Confidential
                                                                                                        ation marked or identified in writing by either
                                                                                                        and provided by either Party or their respective
                                       representatives. "Confidential &                       rv lnfo~·ir.ation" shall also include all notes, analyses,
·;,-;t   ,,~r·.'.·)';;,.,, . . ., ...' co.mpilatio.ns, studies, inter.f.li'E:!tations              do(.uments th~t are made as a prirt of any Fal'i.y'~
                          evaluation of any other Party and based upon other Confidential Information.




                          Notwithstandlng The Foregoing, "Confidential & Proprietary Information" shall not include:

                                a.    Any Information known to a Party prior to disclosure of such information by the other Party
                                      or its representatives, as documented prior to such disclosure in the receiving Party's
                                      written records;



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                                   b. Any information which becomes available to any Party on a non-confidential basis from
                                      source other than the disclosing Party, which source is not bound by a confidentiality
                                      Agreement with, or any other contractual, legal or fiduciary obligation of confidentiality to,
                                      the disclosing Party with respect to such information;

                                   c. Any information which is or becomes generally available to the public other than as a result
                                          of a disclosure by a Party In breach of this Agreement; and


                                   d. Any ·information conceived or d~ve·loped by any Party or any of its· employees. Without
                                          access or reference, directly or. indirectly,              Confidential. Information .
                                                                           .~:      :.:
                                                                       .. :· . ..     ,.:
                                                                                       .....
                             11
                    2.0 P<.Jr.tv ~" Parties"  11


                      · Any reference.· ··in tiJis Agreement to a. Pi!rty                                               the        Di~clos~~ ~r Recipie~t, ~~ . the                                             ·
                        conte~ so dictates and any such re~~r.ence. pa                    to                            •,                     '
                                                                                                                                   parties hereto.
                                                                                                                                                                                               '




                                                                                                                                                                                    . ....,;
                    3.0. "Representative"
                         Shall mean any Age
                             '                      -   . .                                                                           persons engaged. by _or on
                             behalf of the.


                                                                                                                                                                                            ,••!:,'

                    4.0      Di~closure            ofConliden
                           4.1 The Discloser I                                            the confidential and proprie~ary nature of the
                           Confidential Information                                            (b) will keep the Confidential Information
                           Confidential, including~ Without                   by U.!iing the same degree of Care (but in no event leSS
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                                                                    Of care)
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                                                                                        the l!naUthor!?:.e~ ,,.ISe, diSf,l,l)l,H.rt., di~seniintttkm, ,•·'
                                                                               . •, ·····•'\'  \\1   ·.·~·   ~   ··-·        • 1   ... ,   ,           •·.~·"~~.,, ... !•lc•   ,,      ••   ···.• 1   ,   ,~,       1


                           publication' or other access to.                  n as Discloser I Recipient uses to· protect its own highly
                                                                       '                                                                           '

                          ·confidential information, and will not (except as required by applicable law, regulation or legal
                           process, and only after compliance with paragraph 4.3 below), without the Discloser's prior written
                           consent, disclose any Information In any manner whatsoever, and (c) will not use any Confidential
                           Information other than in connection with the Transaction; provided, however, that the Recipient
                           may reveal the Confidential Information to its Representatives (i) who need to know the
                           Confidential Information for the purpose of evaluating the Transaction, (li) who are informed by the
                           Recipient of the confidential nature of the Confidential Information and (iii) who agree to act in
                           accordance with the terms of this Agreement. The Recipient will cause its Representatives to

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                     observe the terms of this Agreement, and will be responsible for any breach of this Agreement by
                     any of its Representatives.



                    4.2 In addition, both Parties agree that although certain information, technology or business
                    information may be generally known In the relevant industry,         that it is used by the Discloser,
                    and how it is used by the Discloser, may not be known                    constitutes Confidential &
                    Proprietary: Information. Both Parties agre~ that the
                    informatio~ or data may        g~ne.~ally 'known in
                                                  be· .                                ustry
                                                                                           . does not mean. that the
                                                          combirles
                                                                                                                                                '        ,'

                    manner I~ which. the Disdoser              ·s~ch
                                                                 '
                                                                     documentation,            and data, and the results
                    obtained as,.a result of such combination, are known and, therefore,        combination and results
                    constitute Confidential & Proprie~ary lnfQrlJlatlon.



                 · ·4.3 In :.the event that the Reclpie                                        Its    Repre~entatlves are reque·sted pursuant to, or
                    required . by,: :.applicable laiN,                                               I process to disclose ·any of the Confidential
                    Information . . or. matters contemplated
                                                       ......                                                   the Rec.ipient wiil notify the Discloser
                    promptly so:that the Disclo.ser may s.eek                                                     other approprlate.remedy or, in the
                                                                                                                                              ·'  :

                     Discloser's sole:discretlon, .~aiv.e:c~mplia
                                                                                                                                            '       '•        ',       ,'

                                                                                                                      Agreement. In the event that no
                    such protective order or other remedy Is                                                                does not waive compliance
                    with the terms. of this Agreement,·.·the ·Reci                                       furnish only that portion of the Confidential
                                                                                                          required and will exercise all comm.ercially
                                                                                                         confidential treatment will be accorded the


                                                                      ..
           ~    .. ....                                        ' •'   ;•• ', • '   o',. '   ,', :: ,• ' I ' •'   I~<   ', ~ "'   ',,I   •
                                                                                                                                                               .   ·"'·•'




                                                               with respect to any Confidential Information received;

                                                                ntial Information only in furtherance of a potential business
                                                            and not to disclose the same to any third person; and

                    (b) To receive and hold the Confidential Information In the strictest confidence and ensure all
                    reasonable security precautions in the safekeeping of the Confidential Information are applied by
                    the Recipient's employees so as to prevent disclosure of such Confidential Information to third
                    persons. Recipient will take all reasonable necessary steps to ensure that its employees and
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                      Representatives who have a need to know such information receive such Confidential Information
                      and that its representatives, employees, agents and sub-contractors respect the obligations of non-
                      use and non-disclosure provided herein; and

                      (c) Not to copy, reproduce or reduce to writing any part thereof except as may be reasonably
                      necessary pursuant to Sub-Section S.la above and ensure that any copies, reproductions or
                      reductions to writing so made shall be the property of the Discloser; and

                     (d) T.o·return such Confidentlallnformat!on received in any tangible form to the Discloser within five
                     (5) days· at the written request-of the Discloser and    to
                                                                            retain no.copies or reproductions·thereof and          '        .
                     certify same in writing upon request of the
                                                                                  .                     ' .. ...     ..
                     (e} To certify in writing to the ·Disclo;~r. .·         of this Agreement have been complied with
                                                                              .                     '
                     upon request or upon termination; arid

                     (f) To maintain all confidential or proprietary                         upon or .contained. within the
                     Confic;tentia.l ·Information of the· Discloser, and to               r~moving 1 destroying: or· rendering     , ....       ,l'




                     illegible any·such markings.            ····:·
                                                                 '•.




                     (g) Subsi~~aries;                                                            prevent the Recipi!'!nt from
                     employing F~riy                                    ,:'                                         • ,1','




                                                                                                                  .. •:
                                                                          initiative without any direct or indirect solicitation




···· .. ·":''·· .. · .. ·(i)··who· is··C:ontacied
                        employment firm.




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           6.0 Non·Ctrcumventlon
               The Recipient I Discloser agrees not to use any Information to circumvent the other through
               pursuing the business opportunity alone or through third parties, or approaching the Revealed Third
               Party at the expense of the other party, for. the purposes, intent or effect of circumventing or
               competing in any form, with the Discloser.
                                                                                  '     '·
           7.0   Enti.t'i!! Agreement              ..                 .
                 7.-1· lihls Agreement contains .the ·entire                                   nt between the Partle·s· concerning the
                 confl~entiality of the confidential ·Info                                     other matters contemplated hereby, and
                 super~ede all prior or contemporaneous ora                                  n understandi(lgs or agreements regarding the
                 subjedt 'IT:Iatter of this Agreement.             No ·                 of     this      ment or waiver of the ·terms and
                 condl~fon:s hereof will be binding upon the Partie                                       in writing by each of the Parties .

                                                              :•    ,1,                                                                                • ,••, ... ' , •         'I


                        I       '                       '             '

                 7.2 N~ ·rights.or obligations other *han those expressly                                      rein              are to be                       impiie'd from       this
                 Agreement.
                        I' .        .                                                                                                                                    ',•
                                                                                                                                                                           '


                                                                          and Non-Circumvent Agreement
                                                                             of
                                                                           as the Effective Date, Gn the date of signature by the
                                                                                riod of five (5) year~. Upon that date or as soon as
                                                                                    other's direction, destroy or return all the
                                                                            party has disclosed to it under or pursuant to this
                                                                                              .    ..,,.
                                                                                      .· •. 1.,· . \           .'   ......   :    '·., ' .·   '   '   ...... '   .   ~         .'



                 8.2 Restrictions                               Confidential Information shall remain in force for a period of five
                 (5) years following the                    is Agreement, notwithstanding this Agreements termination for any
                 reason whatsoever.




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                            admin@mafteco.com



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          9.0 Seve~ability
              If an~ provision of this Agreement is found by any court of competent jurisdiction to be invalid or
              unenforceable, the invalidity or unenforce~bility of such             shall not affect the other
              provi~ions of this Agreement which shall remain in full force

          tu.o  Equitable Relief
             ·10.1 ·~oth Parties to this Ag.r.eement acknowledge th .                        I Information belonging to the .
              Dfsclds!!r .is a unique and valuable· asset of Discloser. Disclosure                 .of this Agreement will
              r-esult! in. irreparable injury. to the ·Discloser for which monetary                 . afo,ne ~.Viii· not be an
              adequate remedy.



              :10.2: ~herefore, the Parties agree                     of a breach or threatened     breach of the terms of
              this .:J~Jgreet'nent~ the· piscloser will .                       performance, injunctive. :reli.ef or other
              equi~~bte relief prohibiting. ·a~y                              nt   withou~   giving an   unp~rtaklng   as to
              dal'l_'lakes. Any such equitable remedy                              and not In lieu of, other appropriate
                    at
              relief law to which that Disd~ser may be

          11.0 Nou~AssignablliLy
              No Pa          ~:~.ar.•l3ment shall·asslgn any of             or obligations hereunder, without the prior
                                            · Party hereto, which            shall not be unreasonably withheld.


                                                  In any l"'ur,,her of counterparts and/or via facsimile transmission with
                                                       '    '                                      . ·.. .. ' . '
                                                      tp.each were.upon.th,e ·same Agreerrtt:!nt.          ·

          13.0 Agre~ments
              13.1 ~his Agre                            nded to nor will it be construed as creating a Joint Venture,
              Partnership or                        Business Association between the Parties or Incorporating the
             Confidential Information.




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                     :admln@malteco.com
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                13.2 All Confidential Information disclosed by the Discloser remains the property in right and title of
                the Discloser. All Confidential Information disclosed by the Recipient remains the property in right
                and title of the Recipient.



          14.0 Waiver
               The failure of either party to enforce any rights resulting from any breach of any term or provision of
             ; this Agreement by the other party will not be deemed a waiver of any right relating to a subsequent
               breach of such provision or of any other right he.reunder.

          15.0 Governing Law                                                                      :'   ··.
               :rhe validity and interpretation of this                  f be governed by the .laws of TEXAS and any
     ·.      . dispute arising thereof shall be ~ubmltted

          16.0 Sworn Statement
            · ·Wl-fEREAS, I, Cara Sorensen, CEO of Titan Fence &                    ·"Recipient"), fully understand that
             ·the ·any 'transaction 'discussed will be strictly one ot' p            cement, and that it           is
                                                                                                              in no way ·
               relylng . upon or relating to. the United States· Securities               orrelated 'regUlations, and it'
               does not involve the
                                                                                                       .........
                                                                                                       11
                                                     ..Sorensen
                                                           .    CEO of Titan Fence & Supply Co,, (the.
                                                                                                    . Recipient"), am
                not a licensed                         employee. I (the "Recipient'), have mutually agreed that this
               ,.private placement tra                   from the Securities Act, and is not intended for the general
                                                                                                                                    ...·.   ,.
                public, and all matters                       LV.
                                                                                                                                   . ·..

                I, Cora 'Sorensen, CEO of                            as authorized signatory acting personally or on
                behalf of my company, do he                   that I have re.quested of your organization to· release
          · ·, ·..sP.e.~lr." . t?rf~..~mttal,
                                          .     , •. .      ~~~~:P.A~·:~r. oel!~lt.~:~ ~~yseJL~r~~:.,).f,/~Ur~!VI~.any lrr_
                                                                              .                                               '   'I~'-~~:       "'   •:•~,.1

             · order to serve my interest .and purposes of helping with introductions Intel the financial world for
               private project funding by means of private placement. I hereby agree to keep all information and
               documents I receive from you "strictly confidential" not disclosing it to 3rd parties without consent. 1.
               hereby swear I will not try to contact or circumvent you in any way now or in the future and that I
               recognize your contacts as your personal property and not to be disclosed to any other parties. I
               hereby affirm under penalty of perjury I will not disclose any information I obtain.

               I, Cara Sorensen, CEO of Titan Fence & Supply Co. hereby declare that the information r receive from
               you Is In dil'ect response to my request of your personal assistance and you or any of your associates
               have not solicited me for information or funds or any other type of offerings. I hel'eby affirm under
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                      admin@malteco.com
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                penalty of perjury that you have not solicited me or any of my associates in anyway. I herby affirm
                that I hold you harmless from any claims or liabilities and I assume full responsibility to make my
                own judgments based on the Information provided.

                I, Cara Sorensen1 CEO of Titan Fence & Supply Co. hereby request of you to assist me with
                Introductions regarding Project Funding, Private Placement and does no way rely or relate to
                "United States Securities Act'' of 1933 ~s amended or related regulations including House Resolution
                HR 3720 private transaction; and does not involve the sale of securities.

                Further, I dedare I ain not           alicensed broker or· a                                 "an\J, ..          r,.,,m.,.nt employee I understand that you or
               . your. organization is not a licensed security
               , that .jf you ·accept. and assist' me with
                 placement that the transactio.n.will b~ exe
                 ~'General Public", and that it Is strictly a                                                                             in search of and all materials and
                 Information are strictly for "OUR
                                               .
                                                    PRIVATE USE ONi.. .
                                                . .         '     '




                    ..·'                          '   ...



         ·SIGNATURE                                               • ';I•                                                                             ',   ,:'   '   I•
                                                                                                                                                                              ··' .     '',   '•
                                                            •'·




                                                                                                                                 Titan Fence & Supply Co.



                                                                  ·-                              ~ ~ •'
          ''   ..    -.    ~
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                                                                                      ':'';,"
                                                                                        , '   I    '.'   ,    "   ..   ~,   :




         By: Willy Andreas                                                                                                       By: Caro Sorensen, CEO

         Date:                                                                                                                   Date:   c.. ~"::;();t                   ~l ~or &O 1o



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                                                ADDENDUM "C"

                                             Banking Information




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                  admin@malteco.com
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MALTECO
Business Consulting Group, Inc
Transaction# 131-03-17-2010-FG-AK




            ENGAGEMENT AGREEMENT
                                             between



                      LPG, Capital LLC
                                                 and




                                MALTECO
                             Business Consulting Group, Inc




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    1   1   1825 W. Walnut Hill Lane Suite 120 Irving, Texas 75038 972-331-2557 fax 972-331-2562
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                               ENGAGEMENT AGREEMENT


Parries:
This Agreement made this March 17, 2010 by and between MALTECO BUSINESS CONSULTING, INC, a
corporation registered in Dallas Texas, whose address is 1825 W. Walnut Hill Lane Suite 120, Irving, Texas
75038, hereinafter referred to as "MALTECO" or "Consultant" and Mr. Josh Alexander, LPG Capital, LLC

hereinafter referred to as "Client", whose address is 2303 Rio Grande, Austin, TX 78705, United States of
America.




         Whereas Consultant is in the business of providing management consulting services to
         businesses in an effort to obtain a financial guarantee (ct: insurance wrap) against presented
         assets for capital enhancement whereas Client desires to retain Consultant for the following
         purposes:

                                 To arrange an insurance wrap against Asset

Gehcral:
         For and in consideration of mutual benefits, promises, and the cross consideration
         hereinafter set forth, the adequacy of which is hereby acknowledged, the parties hereto,
         MALTECO and Mr. Josh Alexander, LPG Capital, LLC.,collectively "THE PARTIES", hereby
         covenant and agree as follows:

    ,;.. Services


    A.   MALTECO is hereby engaged by Mr. Josh Alexander, LPG Capital, LLC, to provide insurance
         services (exclusive) in short FINANCIAL GUARANTEE (CT: INSURANCE WRAP), bankable and
         assignable.
    B.    MALTECO shall contact institutional insurance agencies, arrange presentation of the
         Company and arrange conferences with the insurance agents (the "Insurance- term").
   C.    MALTECO is engaged to provide consulting services to Mr. Josh Alexander, LPG Capital, LLC,
         for purposes of attempting to provide, through Malteco's sources, the requested Financial
         Guarantee against the asset.                                                    ··--·~--- ~-
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    '2.       Proces~.   Compensation and Fees for Insurance Binrl~r/Finandal Guarantee

     ·Process
              Mr. Josh Alexander, LPG Capital, LLC, executes this engagement agreement and pays to
              Malteco the required fees of 35,000.00 USD to bind the asset with a financial guarantee for
              further Credit enhancement.

              To the accounts of

              MALTECO BUSINESS CONSULTING GROUP, INC
              W. WALNUT I:IJLL LANE, STE 120
              IRVING, TEXAS 75038
              UNITED STATES OF AMERICA


Account Info.:
Account Name:               MALTECO BUSINESS CONSULTING GROUP, INC.
Account Number:             807079520
!BAN/Routing:               111000614
Swift:                      CHAUS3
Bank name:                  CHASE BANK
Bank address:               5530 N McARTHUR, IRVING, TX 75038
Bank Officer:               GEORGE MILLER
Bank Phone:                 +1 (972) 717-2375
Bank Fax:                   +1 (972) 756-6089
Reference Code              131-03-17-2010-FG-AK



          The Profit sharing agreement between the parties will be completed, as soon the
          commitment         to    bind   the   asset,   is   provided   by   the   insurance   agency.




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  3. Terminadon of Agreement
  A.   Upon the bankruptcy or liquidation of the other party, whether voluntary or involuntary;
  B.   Upon the other party taking the benefit of any insolvency law;      ,
  C.   Upon the other party having or applying for a receiver appointed for either party; and/or
       written notice by one party to the other party.


  4.   Notices
       All notices hereunder shall be in writing and addressed to the party at the address herein set
       forth, or at such other address which notice pursuant to this section may be given, and shall
       be given upon the earlier of actual receipt or three (3) business days after being mailed or
       delivered to such courier service. Any notices to be given hereunder shall be effective if
       executed by and/or sent by the attorneys for THE PARTIES giving such notice and, in
       connection therewith, THE PARTIES and their respective counsel agree in giving such notice
       such counsel may communicate directly in writing with such party to the extent necessary to
       give such notice.




  5.   Atlonu'y Fees
       In the event either party is in default of the terms or conditions of this Engagement
       Agreement and legal action is initiated or suit be entered as a result of such default, the
       prevailing party shall be entitled to recover all costs incurred as a result of such default
       including reasonable attorney fees, expenses and court costs through trial, appeal and to
       final disposition.

  6.   Time is of the 'Essence
       Time is hereby expressly made of the essence of this Engagement Agreement with respect to
       the performance by THE PARTIES of their respective obligations hereunder.

       lnurnment
       This Engagement Agreement shall inure to the benefit of and be binding upon THE PARTIES
       hereto and their respective heirs, executors, administrators, personal representatives,
       successors, and consultant cannot assign this agreement.

  U.   EnUre Agreement
       This Engagement Agreement contains the entire agreement of THE PARTIES. It is declared
       by THE PARTIES that there are no other oral or written agreements or understanding



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           between them affecting this Agreement.                This Agreement supersedes all previous
           agreements.

    9.     Amemiments
           This Agreement may be modified or amended provided such modifications or amendments
           are mutually agreed upon by and between THE PARTIES hereto and that said modifications
           or amendments are made only by an instrument in writing signed by THE PARTIES.

     tO. Waivc:rs
           No waiver of any provision or condition of this Agreement shall be valid unless executed in
           writing and signed by the party to be bound thereby, and then only to the extent specified in
           such waiver. No waiver of any provision or condition of this Agreement and no present
           waiver of any provision or condition of this Agreement shall be construed as a future waiver
           of such provision or condition.

    11. Non-Waiver
           The failure of either party, at any time, to require any such performance by any other party
           shall not be construed as a waiver of such right to require such performance, and shall in no
           way affect such party's right to require such performance and shall in no way affect such
           party's right subsequently to require a full performance hereunder.

    1 ::. Construction of Agreement
           Each party and its counsel have participated fully in the review and revision of this
           Agreement.     Any rule of construction to the effect that ambiguities are to be resolved
           against the drafting party shall not apply in the interpretation of this Agreement.

     i~.   Non-Cirnlmvcmtion Agret>mt>nt
           Mr. Josh Alexander, LPG Capital, LLC, agrees, represents and warrants hereby that it shall
           not circumvent MALTECO with respect to any banking or lending institution, insurance,
           investment bank, trust, corporation, individual or investor introduced by MALTECO to Mr.
           Josh Alexander, LPG Capital, LLC, pursuant to the terms with MALTECO for the purpose of,
           without limitation, this Agreement and for a period of twelve (12) months from the date of
           execution by THE PARTIES of this Agreement. If Mr. Josh Alexander, LPG Capital, LLC, enters
           into a transaction with a party introduced by consultant, then the fees owed under section
           2a shall be due whether or not this Agreement or term has ended.

           Further the Parties agree to the articles of non-disclosure outlined in the AD DEN DUM "B".

    _;,;, Applicable Law
           THIS AGREEMENT IS EXECUTED PURSUANT TO AND SHALL BE INTERPRETED AND GOVERNED
           FOR All PURPOSES BY THE LAWS OF THE STATE OF-TEXAS FOR WHICH THE COURTS IN
~·~~..-!"""'    ....... . _ _........................- - - - - - - - - -......--_..~'*'""~~   ._........_\»"~•~•-' ~!?¥"~<, '(",..._,.,«;:~'<.   ..,,,,.,,,~" ,~'O'!A-<

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           DALLAS, TEXAS SHALL HAVE JURISDICTION WITHOUT GIVING EFFECT TO THE CHOICE OR
           LAWS OR CONFLICT OF LAWS RULES THEREOF OR OF ANY STYLE. The parties agree that
           mediation shall be used as an initial forum for the good-faith attempt to settle and resolve
           any issues or disputes that may arise.

  1 :.. CounlPrparts
           This Agreement may be executed in a number of identical counterparts.            Each such
           counterpart is deemed an original for all purposes and all such counterparts shall,
           collectively, constitute one agreement, but, in making proof of this Agreement, it shall not
           be necessary to produce or account for more than one counterpart.

   1 (,,   Facsimile
           A facsimile copy of this Agreement is acceptable.

   i ';-. Iutcrstatt' Ctmmwrcc
          The Consultant shall undertake to comply at all times with Section 17-b of the Securities Act
           of 1933.

   1R      An:ept<~hle   Forms of Agreement
           The Client recognizes that this is a binding contract. The contract has to be submitted in
           electronic form via email or fax submission. A hard copy has to be sent via overnight FED EX
           to the office of Malteco Busin-ess Consulting Group, Inc.


           TO:
           MALTECO BUSINESS CONSULTING GROUP.INC
           W. WALNUT HILL LANE, STE 120
           IRVING. TEXAS 75038
           UNITED STATES OF AMERICA

           The Client has to submit the signed and NOTARIZED agreement to our office and can expect
           in between 48-72 hours the countersigned contract back.




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       IN WITNESS WHEREOF, THE PARTIES have set forth their hands and seal in execution of this
       Engagement Agreement this March 17, 2010 by and between:




SiGNATURE
 MALTECO BUSINESS CONSULTING GROUP, INC                COMPANYNAME




 By: Willy Andreas Kirsch, Director                    By: Mr. Josh Alexander, LPG Capital, LLC

 Date: Wednesday, March 17,2010                        Date: Wednesday, March 17, 2010




                                                   , Notarization Field:

                                                       Name: ........................................................................................

                                                   I   Nr.: .............................................................................................




                                                                                                     (Stamp:)


                                                   I   Date: ..........................................................................................



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                                                    i\DDENDUM ".4."
                                                      Project Scope

  Project Activities: MALTECO BUSINESS CONSULTING GROUP, INC., in providing insurance services, shall
  perform the following project specific functions and merge MALTECO efforts with Mr. Josh Alexander,
  LPG. Capital, LLC resources, as needed.                 The emphasis of this insurance project shall be personal
  introductions of Mr. Josh Alexander, LPG Capital, LLC to insurance agents and companies providing such
  requested services.




  This service includes but is not limited to:

  Presenting the necessary documentation as provided by the client to the insurance agency/

  If additional documentation is required, it is the client's responsibility to provide those.

  If the client requires additional assistance with providing such documentation, Malteco will assist and
  charge for the additional service as agreed in writing before additional services will be provided.

  All funds, to cover the binding fees have to be wired to the accounts of Malteco Business Consulting
  Group, Inc. prior the insurance binder will be presented.

  Malteco Business Consulting Group guarantees for the safekeeping and security of the funds with their
  financial liability insurance up to 5 Million USD.

  As soon the insurance binder is presented to the client, the client has to cover the insurance costs in 30
  working days.




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                                         ADDENDUM "E"

                CONFHJENT!AUTY AND             NON-lHSC~.




  This Confidentiality and Non-Disclosure Agreement is effective upon its execution from Wednesday,
   March 17, 2010, by and between MALTECO BUSINESS CONSULTING GROUP, INC. (the "Discloser")
  and Mr. Josh Alexander, LPG Capital, LLC, (the "Recipient"), together with their parent, subsidiaries
   and affiliates collectively, the "Discloser" and "Recipient" are sometimes collectively referred to as
  the "Parties" and individually referred to as a "Party".




  WHEREAS, Discloser is revealing proprietary financial sources to assist in the procurement of
   Insurance Services through affiliated insurance agencies that the Discloser will introduce to the
   Recipient.




  WHEREAS, the relationships may be created by the Discloser's introductions may lead to the raising
  of funds for the Project and/or entering into a venture or entering into other similar business
  ventures involving the Discloser, either directly or through their third party contacts the ("Possible
  Transaction");




  WHEREAS, Discloser desires to make available in connection with the Possible Transaction, certain
  information and related documentation concerning the Possible Transaction and the Business that
  may include without limitation, details of, the Business, its organization, finance and technology, as
  well as details of the Possible Transaction, which the Discloser deems to be Confidential and
  Proprietary;




  WHEREAS, the Discloser is willing to disclose such information and documentation to the Recipient
  on the condition that such information remain confidential pursuant to the terms and conditions of

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    this Agreement. Recipient's information, 3rd party contacts, etc. will also remain confidential
    pursuant to the terms and conditions of this Agreement.




    NOW, THEREFORE, in consideration of their mutual promises herein, and other good and valuable
    consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as
    follows:




1 J: Definltions as used herein:
    "Confidential Information" shall mean and include, any and all technical and non-technical
    information belonging to the Discloser, including but not limited to, copyright, trade secret and
    proprietary information, intellectual property services, business plans, legal documents, techniques,
    drawings, models, know-how, processes, software, products, research and development activities,
    apparatus, equipment, software programs, methods, models, relating to the Possible Transaction,
    and the Business, and includes, without limitation, its information concerning research,
    development,       business    models,   financial   projections   specifications,   engineering,   financial
    information, procurement requirements, business plans, management, earnings, marketing and
    sales, customers, suppliers marketing plans and information and all other aspects of the Business
    and the Possible Transaction, including, without limitation, its assets, liabilities, profitability, policies
    and financial position, third party contacts, sources of funding and technology partners.
    Confidential Information may be communicated in written, visual or oral form. Confidential
    Information shall include any and all other information marked or identified in writing by either
    Party as "Confidential" or "Proprietary Information" and provided by either Party or their respective
    representatives. "Confidential & Proprietary Information" shall also include all notes, analyses,
    compilations, studies, interpretations or other documents that are made as a part of any Party's
    evaluation of any other Party and based upon other Confidential Information.




    Notwithstanding The Foregoing, "Confidential & Proprietary Information" shall not include:

        a.     Any information known to a Party prior to disclosure of such information by the other Party
               or its representatives, as documented prior to such disclosure in the receiving Party's
               written records;



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        b.       Any information which becomes available to any Party on a non-confidential basis from
                 source other than the disclosing Party, which source is not bound by a confidentiality
                 Agreement with, or any other contractual, legal or fiduciary obligation of confidentiality to,
                 the disclosing Party with respect to such information;

        c.       Any information which is or becomes generally available to the public other than as a result
                 of a disclosure by a Party in breach of this Agreement; and



        d. Any information conceived or developed by any Party or any of its employees without
           access or reference, directly or indirectly, to the Confidential Information.


2 .G "Party or "Parties"
    Any reference in this Agreement to a Party shall mean either the Discloser or Recipient, as the
    context so dictates and any such reference to Parties shall mean both parties hereto.



:u_, "Rqm:scntative"
    Shall mean any Agent, authorized representative, attorney, auditor or persons engaged by or on
    behalf of the Discloser or the Recipient.




·Ui Dlsci.lsure of Confidential Information
    4.1 The Discloser I Recipient (a) acknowledges the confidential and proprietary nature of the
    Confidential Information received or to be received, (b) will keep the Confidential Information
    confidential, including, without limitation, by using the same degree of care (but in no event less
    than a reasonable degree of care) to prevent the unauthorized use, disclosure, dissemination,
    publication or other access to information as Discloser       I   Recipient uses to protect its own highly
    confidential information, and will not (except as required by applicable law, regulation or legal
    process, and only after compliance with paragraph 4.3 below), without the Discloser's prior written
    consent, disclose any Information in any manner whatsoever, and (c) will not use any Confidential
    Information other than in connection with the Transaction; provided, however, that the Recipient
    may reveal the Confidential Information to its Representatives (i) who need to know the
    Confidential Information for the purpose of evaluating the Transaction, (ii) who are informed by the
    Recipient of the confidential nature of the Confidential Information and (iii) who agree to act in
    accordance with the terms of this Agreement.            The Recipient will cause its Representatives to


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    observe the terms of this Agreement, and will be responsible for any breach of this Agreement by
    any of its Representatives.




    4.2 In addition, both Parties agree that although certain information, technology or business
    information may be generally known in the relevant industry, the fact that it is used by the Discloser,
    and how it is used by the Discloser, may not be known and therefore constitutes Confidential &
    Proprietary Information. Both Parties agree that the fact that various fragments of documentation,
    information or data may be generally known in the relevant industry does not mean that the
    manner in which the Discloser combines such documentation, information and data, and the results
    obtained as a result of such combination, are known and, therefore, such combination and results
    constitute Confidential & Proprietary Information.




    4.3 In the event that the Recipient or any of its Representatives are requested pursuant to, or
    required by, applicable law, regulation or legal process to disclose any of the Confidential
    Information or matters contemplated by Section 1. Above, the Recipient will notify the Discloser
    promptly so that the Discloser may seek a protective order or other appropriate remedy or, in the
    Discloser's sole discretion, waive compliance with the terms of this Agreement. In the event that no
    such protective order or other remedy is obtained, or that the Discloser does not waive compliance
    with the terms of this Agreement, the Recipient will furnish only that portion of the Confidential
    Information which it is advised by counsel is legally required and will exercise all commercially
    reasonable efforts to obtain reliable assurance that confidential treatment will be accorded the
    Confidential Information.




';,,; l'rotectmn ofConiidentiaJ lnformation
      5.1 The Discloser I Recipient Agrees, with respect to any Confidential Information received;

    (a) To examine and use such Confidential Information only in furtherance of a potential business
    relationship between the Parties, and not to disclose the same to any third person; and

    (b) To receive and hold the Confidential Information in the strictest confidence and ensure all
    reasonable security precautions in the safekeeping of the Confidential Information are applied by
    the Recipient's employees so as to prevent disclosure of such Confidential Information to third
    persons. Recipient will take all reasonable necessary steps to ensure that its employees and
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   Representatives who have a need to know such information receive such Confidential Information
   and that its representatives, employees, agents and sub-contractors respect the obligations of non-
   use and non-disclosure provided herein; and

   (c) Not to copy, reproduce or reduce to writing any part thereof except as may be reasonably
   necessary pursuant to Sub-Section 5.1a above and ensure that any copies, reproductions or
   reductions to writing so made shall be the property of the Discloser; and

   (d) To return such Confidential Information received in any tangible form to the Discloser within five
   (5) days at the written request of the Discloser and to retain no copies or reproductions thereof and
   certify same in writing upon request ofthe Discloser; and

   (e) To certify in writing to the Discloser that the terms of this Agreement have been complied with
   upon request or upon termination; and

   (f) To maintain all confidential or proprietary markings placed upon or contained within the
   Confidential Information of the Discloser, and to refrain from removing, destroying or rendering
   illegible any such markings.

   (g) Subsidiaries; provided, however, that the foregoing provision will not prevent the Recipient from
   employing any such person




   (h) Who contacts the Recipient on his or her own initiative without any direct or indirect solicitation
   by or encouragement from the Recipient or




    (i) Who is contacted by way of a generalized search for employees through the media or
   employment firm.

,, ;, \JPH·Cin:umvention
      The Recipient I Discloser agrees not to use any Information to circumvent the other through
   pursuing the business opportunity alone or through third parties, or approaching the Revealed Third
   Party at the expense of the other party, for the purposes, intent or effect of circumventing or
   competing in any form, with the Discloser.




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Business Consulting Group, Inc
Transaction# 131-03-17-2010-FG-AK

7.0     l~ntire Agreement
        7.1 This Agreement contains the entire agreement between the Parties concerning the
        confidentiality of the Confidential Information and other matters contemplated hereby, and
        supersede all prior or contemporaneous oral or written understandings or agreements regarding the
        subject matter of this Agreement. No modification of this Agreement or waiver of the terms and
        conditions hereof will be binding upon the Parties, unless approved in writing by each of the Parties.




        7.2 No rights or obligations other than those expressly recited herein are to be implied from this
        Agreement.



!i.()   Term ami Tt'rminathm of Non-Disclosure and Non-Cirn;mvent 1\gn~cmPn~
        8.1 This Agreement shall become effective as of the Effective Date, on the date of signature by the
        last of the Parties and shall remain valid for a period of five (5} years. Upon that date or as soon as
        practicable thereafter, each Party shall, at the other's direction, destroy or return all the
        Confidential Information which the other party has disclosed to it under or pursuant to this
        Agreement.




        8.2 Restrictions with respect to the Confidential Information shall remain in force for a period of five
        (5} years following the date of this Agreement, notwithstanding this Agreements termination for any
        reason whatsoever.

(i.{)   Severahili!y
        If any provision of this Agreement is found by any court of competent jurisdiction to be invalid or
        unenforceable, the invalidity or unenforceability of such provision shall not affect the other
        provisions of this Agreement which shall remain in full force and effect.

1 O.U Equitable Relief
     10.1 Both Parties to this Agreement acknowledge that the Confidential Information belonging to the
        Discloser is a unique and valuable asset of Discloser. Disclosure in breach of this Agreement will
        result in irreparable injury to the Discloser for which monetary damages alone will not be an
        adequate remedy.




          16   1825 W. Walnut Hill Lane Suite 120 Irving, Texas 75038 972-331-2557 fax 972-331-2562
               admin@malteco.com
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          10.2 Therefore, the Parties agree that in the event of a breach or threatened breach of the terms of
          this Agreement, the Discloser will be entitled to specific performance, injunctive relief or other
          equitable relief prohibiting any breach of this Agreement without giving an undertaking as to
          damages. Any such equitable remedy shali be in addition to and not in lieu of, other appropriate
          relief at law to which that Discloser may be entitled.

t r .~t N:•n-As.;;igmlhilit\'
          No Party to this Agreement shall assign any of its rights or obligations hereunder, without the prior
          written consent ofthe other Party hereto, which consent shall not be unreasonably withheld.

'!   :.:..nCounterpa1·ts
          This Agreement may be signed in any number of counterparts and/or via facsimile transmission with
          the same effect as if the signature to each were upon the same Agreement.

U.O Agreements
   13.1 This Agreement is neither intended to nor will it be construed as creating a Joint Venture,
          Partnership or other form of Business Association between the Parties or Incorporating the
          Confidential Information.




          13.2 All Confidential Information disclosed by the Discloser remains the property in right and title of
          the Discloser. All Confidential Information disclosed by the Recipient remains the property in right
          and title of the Recipient.




J"i:.O Waiver
      The failure of either party to enforce any rights resulting from any breach of any term or provision of
          this Agreement by the other party will not be deemed a waiver of any right relating to a subsequent
          breach of such provision or of any other right hereunder.

t 5.~~ Governing Law
          The validity and interpretation of this Agreement shall be governed by the laws of TEXAS and any
          dispute arising thereof shall be submitted exclusively to courts in Indiana.

Hdl Sworn Statement
   WHEREAS, I, Mr. Josh Alexander, LPG Capital, LLC, (the "Recipient"), fully understand that the any
          transaction discussed will be strictly one of private placement, and that it is in no way relying upon



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    or relating to the United States Securities Act of 1933 or related regulations, and it does not involve
    the sale of registered securities.

    Further, I hereby declare that I Mr. Josh Alexander, LPG Capital, LLC, (the "Recipient"), am not a
    licensed broker or government employee. I (the "Recipient"), have mutually agreed that this private
    placement transaction is exempt from the Securities Act, and is not intended for the general public,
    and all matters are for PRIVATE USE ONLY.

    I, Mr. Josh Alexander, LPG Capital, LLC.,as authorized signatory acting personally or on behalf of my
    company, do hereby confirm that I have requested of your organization to release specific
    confidential information and documentation on behalf of myself and or my company in order to
    serve my interest and purposes of helping with introductions into the financial world for private
    project funding by means of private placement. I hereby agree to keep all information and
    documents I receive from you "strictly confidential" not disclosing it to 3rd parties without consent. I
    hereby swear I will not try to contact or circumvent you in any way now or in the future and that I
    recognize your contacts as your personal property and not to be disclosed to any other parties. I
    hereby affirm under penalty of perjury I will not disclose any information I obtain.

    I, Mr. Josh Alexander, LPG Capital, LLC,hereby declare that the information I receive from you is in
    direct response to my request of your personal assistance and you or any of your associates have
    not solicited me for information or funds or any other type of offerings. I hereby affirm under
    penalty of perjury that you have not solicited me or any of my associates in anyway. I herby affirm
    that I hold you harmless from any claims or liabilities and I assume full responsibility to make my
    own judgments based on the information provided.

    I, Mr. Josh Alexander, LPG Capital, LLC,hereby request of you to assist me with introductions
    regarding Insurance Services, Project Funding, Private Placement and does no way rely or relate to
    "United States Securities Act" of 1933 as amended or related regulations including House Resolution
    HR 3720 private transaction; and does not involve the sale of securities.




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MALTECO
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    Further, I declare I am not a licensed broker or a government employee I understand that you or
   your organization is not a licensed security broker or a licensed financial advisor. I mutually agree
   that if you accept and assist me with an introduction f,or project funding through a private
    placement that the transaction will be exempt from the Securities Acts and "Is Not'' intended for the
    "General Public", and that it is strictly a private transaction I am in search of and all materials and
    information are strictly for "OUR PRIVATE USE ONLY".

SIGNATURE




Malteco Business Consulting Group, Inc.                        Mr. Josh Alexander, LPG Capital, LLC




By: Willy Andreas Kirsch, Director                             By: Mr. Josh Alexander, LPG Capital, LLC

Date: Wednesday, March 17, 2010                                 Date: Wednesday, March 17, 2010




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MALTECO
Business Consulting Group, Inc
Transaction # 131-03-1 7-2010-FG-AK

                                             ADDENDUM "C"

                                         Banking Information

TOTAL AMOUNT TO BE WIRED                           35,000.00 USD



Account Info.:
Account Name:            MALTECO BUSINESS CONSULTING GROUP, INC.
Account Number:          807079520
IBAN/Routing:            111000614
Swift:                   CHAUS3
Bank name:               CHASE BANK
Bank address:            5530 N McARTHUR, IRVING, TX 75038
Bank Officer:            GEORGE MILLER
Bank Phone:              +1 (972) 717-2375
Bank Fax:                +1 (972) 756-6089
Reference Code           131-03-17-2010-FG-AK




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MALTECO
Business Consulting Group, Inc
Transaction # 131-03-17-201 0-FG-AK




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    MALTECO
    Business Consulting Group, Inc




                                        IRREVOCABLE MASTER FEE PROTECTION AGREEMENT

                                                  "CONSIDERED AS AN INTEGRAL PART OF THIS CONTRACT"




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>PRINCIPAL'S "AlliE                        llPG         CAPITAL LLC                                        ------ - -·--·--- ---·--·m - . - · --- -----

rR~_~RESENTED. BY;:·. · _·:1 'JoSHUA -D. AlEXANDER                                                          -------------- -·-··-· ----·-- ------------··-,
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              We the undersigned herewith referred as the Principat under penalty of perjury do hereby
    irrevocably confirm and irrevocably accept to pay all intermediaries and fee holders at the same time
    and in a manner as the Principal is being paid for each and every transaction of this contract up to the
    completion of the contract plus rollovers and extensions and in accordance with the bank details to be
    specified in the hard copies of this contract.



                We, the Facilitator, irrevocably confirm that we will order and direct our bank to endorse
    automatic payment orders to the beneficiaries named below; furthermore, we, the Facilitator, confirm
    that all pay orders shall automatically transfer funds as directed into each beneficiaries designated bank
    account within 3 (three) days after the receipt if wire transfer from the Facilitator plus any extensions
    or rollovers of the specified contract




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MALTECO
Business Consulting Group, Inc
        For the purpose of t1arlty, we confirm that the closing and completion of each and every
shipment shall be deemed to take place when the wire transfer issued by the buyer has been cleared by
the receiving bank.



      We, the Facilitator, agrees to provide all beneficiaries with written evidence of the pay orders
lodged with our bank together with acknowledgements of their acceptance.



      Furthermore, our bank shall be instructed to provide duly signed and stamped acknowledgement
of this instruction as set out in the annex. As part of this Agreement, it is understood that for the
purposes of this Master Fee Protection Agreement, our bank shall be the same bank and this MFPA acts
as an integral part of it.



      We the undersigned being the Principal named legally authorized representative as stated within
the signed and legally binding main transaction, contract unconditionally agree and undertake to
approve and originate all payments in USD currency to all beneficiaries named below as their rightful
and payable commissions. This agreement also acts as a record confirming the commission amounts for
each named beneficiary as set out below:




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       MALTECO
       Business Consulting Group, Inc

       TERMS & CONDITIONS

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                 MALTECO
                 Busjness Consulting Group, Inc




                                                                                                       PRINCIPAL

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                   MALTECO
                   Business Consulting Group, Inc


                                                       :ALl. SANK CHARGES SHOULD BE BORNE BY ACCOUNT BENEFICIARY




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             MALTECO
             Business Consulting Group, Inc




             ON THIS        ~ 2010                                                            "·~~ /llf
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                                                                             Signature'::=r c::::r_ ~/-·- _ .

             Mr. Andy Kirsch Date: 03-17·10                                       Mr. Joshua 0. Aiexander   Date:03-17-10



             Ma!teco Business Consulting Group, Inc

             BEFORE ME, THE UNDERSIGNED NOTARY PUBLIC, PERSONALLY APPEARED ......................................, TO ME KNOWN
             TO BE THE INDIVIDUAL DESCRIBED IN AND WHO EXECUTED THE FOREGOING INSTRUMENT, AND ACKNOWLEDGED
             HAT HE EXECUTED THE SAME AS HIS FREE ACT AND DEED




             NOTARY PUBLIC

             SEAL:




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MALTECO
Business Consulting Group, Inc



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MALTECO
Business Consulting Group, Inc
 Transaction# 141-05-24-10-PF-AK

2010-05-26

Mr. Grady Bean CEO
Bean Lumber Company, Inc.
Hwy. 8 SpurN
Glenwood, AR. 71943


Dear Mr. Grady Bean:


Please be advised that Malteco Business Consulting Group, Inc., its affiliates and/or assigns {"Investor")
is interested in providing an investment (the "Investment") in the form of Series A Preferred Stock in the
captioned Property. This term sheet outlines the general terms and conditions under which Investor
intends to proceed. This term sheet does not constitute a commitment to invest, either expressed or
implied, on behalf of Investor.

Investor: Malteco Business Consulting Group, Inc., its affiliates and/or assigns.

Funding: Malteck International SARL "a Swiss Corporation" assigned by Malteco Business Consulting
Group, Inc.

Property ID: 301 S. Highway 377 Crossroads, TX 76227

Applicant: Bean Lumber Co., Inc. ("Owner/CEO") Grady Bean

Guarantor(s): Bean lumber Company, Inc, Grady Bean

Please note: Property ownership entity must be a single asset, bankruptcy remote entity acceptable to
Investor.

Project Details: Refinancing the existing facility/buildings and retirement of specified liens associated w
Bean Lumber Company and investment in said entity located at Highway 8 Spur N Glenwood, Arkansas
71943

Investment Amount:$ 10,000,000 (10 Million USD)

Owner Equity: Owner shall maintain in the project at the initial close all cash equity paid in to date and
may not take-out cash equity from the proceeds of the Investment other than specified in "Uses of
Funds" below. Investor may reimburse the owner for equity monies expended subsequent to the
execution of this Term Sheet and prior to closing.


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            admin@malteco.com
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MALTECO
Business Consulting Group, Inc
 Transaction# 141-05-24-10-PF-AK




Loan Request Summary:
           Investment Amount: $10,000,000 (Ten Million USD)
           Investment Purpose: Investment/Refinance


           Orderly Uquidation Value CBRE:            $ 7,810,850          (Seven point Eight Million USD)
           Orderly Liquidation Value in Place CBRE: $25,530,875      (Twenty Five point Five million USD)
           As Completed Value: Orderly Liquidation: $13,783,850        (Thirteen point Seven Million USD)
                  Orderly Liquidation Value in Place: $31,503,875     (Thirty One point Five Million USD)


           Appraised Value CBRE:    $5,660,000 (Five Million Six Hundred Sixty Thousand USD)
           Existing Liens/Liabilities: $8,593,420 (Eight Million Five Hundred Ninety Three Thousand
           Four Hundred and Twenty USD)
           Occupancy rate Is 100%


Depository Fee: Bean Lumber Company, Inc. ("Owner") Grady Bean, will deposit an engagement fee of
One Hundred Twenty Five Thousand ($125,000.00) with Malteco Business Consulting Group, Inc., on the
presentment of a term sheet. Upon execution of a term sheet, from Malteco Business Consulting Group,
Inc. and/or its assigns, the consulting fee earned and payable and will be deducted from total funds due
at closing. Initial Depository/Binder Fee will be scheduled out per agreement with Malteco Consulting
Group the initial payment will be$ 60,000.00 (Sixty Thousand USD) and subsequent payments of
$16,250.00 (Sixteen Thousand Two Hundred and Fifty USD). The schedule will be Bi-Weekly for 4 periods
beginning on the initial Transfer of Funds date. Bean Lumber Company, Inc. and "Owner/CEO" Grady
Bean accept these terms and agree that any remaining amount due will be deducted from Funding
amount should funding occur before Depository/Binder agreement is fulfilled. This fee is non-refundable
on execution of said Term Sheet.


Draw Schedule: The Investment Amount will be funded per the owner's draw schedule (as approved by
Investor) with individual draws of$ 1,000,000.00 ( One million USD) initial and 18 payments of
$500,000 (Five hundred thousand). Initial funding will be as specified in "Uses of Funds" below.




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            admin@ ma lteco.com
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 Transaction# 141-05-24-10-PF-AK.


The investment is active in the first tranche and will be paid back within 2 years and 2 days from the
first tranche date. Investor agrees to extend additional 5 or 7 years at the end of said period upon
agreement of terms and conditions of Malteco Business Consulting Group, Inc and its affiliates and/or
assignees and Bean Lumber Company, Inc and Grady Bean, "CEO/Owner''.

Interest Rate: 5.5%

Interest Rate Extension: Market Rate Based on Libor (London Interbank Offered Rate).

Use of Funds: (a) Refinance Subject Property (b) Infrastructure Improvements and Site Development;
and (c) balance to be used for payment of closing expenses.



Common Stock: At Closing Investor will receive 25% equity interest in the project in the form of 25% of
the voting shares of the Common Stock of the single asset entity owner. Malteco Business Consulting
will allow a provision whereby "Owner/CEO" Grady Bean and other "Owner Entities" will be in co-
ownership of the 25% and retain voting rights. Investor will retain co-owned shares and forgoes voting
rights. Bean Lumber Company, Inc. ("Owner/CEO"} Grady Bean and/or their successors/assigns will
remain the Owner(s) of 75% (in total) of the Common Stock of the Company. Investor will granted
participation in dividends from profits during the period of Investment at of 8 %. If the company is not
profitable dividend is not applicable. Common shares co-owned are released back to Bean lumber
Company,lnc.    and, Grady Bean "CEO/Owner", when financial instrument has been satisfied.

Release of Investor Shares: Upon successful repayment of Investment to the Investor the 25% Co-
owned shares between Malteco Business Consulting and its affiliates and or assignees and Bean Lumber
Com[any Inc. and Grady Bean "CEO/Owner'' will be released back to original shareholder without
encumbrance.


Security: No additional financing (debt or equity) is permitted during the term of the investment, either
secured or unsecured, except with the permission of the Investor.

Origination Fee: 2.0 %

Expenses: The present owners will be responsible for the timely payment of all closing expenses. Upon
request, the present owners agree to immediately reimburse Investor for all   costs, including but not
limited to Third Party Reports and Investor Legal Fees. Investor requirement on these expenses shall
not exceed   $ 1500 (One Thousand Five Hundred USD).


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Miscellaneous Conditions: The pricing and terms of the Investment is subject to the following
conditions.

1. Full review by investor of project plans, project documentation and owner/guarantor financials and
capability.

2. Full due diligence including property site inspection.

3. Zoning confirmation letters.

4. Investor counsel satisfactory review of title.

5. Investor's satisfactory review of principals' financials and credit history.

6. Verification that construction permits can be issued and that all engineering, architectural plans, etc.
are in process.

7. Investor's appraisal will report a value as represented in documents provided to date. Verification
that the land was purchased (date and purchase price) and verification of Majority Owner's cash
invested to date.

8. All leases, reports, financials pertaining to Bean Lumber Company, Inc..




This information is needed but not limited to:




Third Party Reports:

The present owners shall provide Investor (but Investor shall order), at the present owners' sole cost
and expense, prior to the closing of this transaction, in form and substance satisfactory to Investor, in its
sole discretion, the following:

Environmental Phase One: a Phase I (and subsequent reports if required by Investor) acceptable to
Investor by an environmental consultant retained by Investor at majority Owner's expense. Investor
may, in its sole discretion, accept a previously prepared report when accompanied by a reliance letter.
Based on the findings of such report, Investor may require a Phase Two report requiring testing,
remediation, environmental insurance, or Investor may deny the investment.


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 Due Diligence: Investor's obligations hereunder are contingent on Investor completing, to its sole and
absolute satisfaction, a complete review of the Owner's and Sponsors' financials (personal and
corporate), credit reports, the Property and the surrounding market. Criminal and civil searches will be
performed on the sponsors, guarantors, Owner, and Owner's sub-entities and/or parents. At any time,
 Investor may elect in its sole and absolute discretion to terminate this agreement.


 Other Conditions: In addition to completion of Investor's Due Diligence as outlined above, Investor's
obligations hereunder are contingent on satisfactory completion, in Investor's sole and absolute
discretion;(i) site inspection, (ii) title review, (iii) survey review, (iv) lease(s) review, (v) insurance review
and underwriting, (vi) review of applicant background and credit, (vii) any other reasonable information
necessary for Investor to perform due diligence in efforts to make the proposed Investment, (viii) the
Majority Owner's execution of investment documents, and (ix) Owner's acting in good faith and with
commercially reasonable efforts to comply with the Patriot Act and all applicable requirements of
governmental authorities having jurisdiction of the Owner and the property, including those relating to
money laundering and terrorism. Investor shall have the right to audit the Owner's compliance with the
Patriot Act and all applicable requirements of governmental authorities having jurisdiction of the Owner
and the property, including those relating to money laundering and terrorism and (x) review of the
existing first mortgage documentation. If the Owner does not promptly (within 14 days) provide
information necessary for underwriting the Investor may terminate this agreement and keep any
deposits as liquidated damages. The Owner will be required to provide quarterly books and records for
the subject Property. The Owner shall be responsible to pay all attorney's fees and costs incurred by
Investor due to any dispute that arises in connection with this Agreement.


Expiration: This term sheet will expire if not executed and returned to Investor prior to end of business
May 28, 2010. To facilitate execution, this Agreement may be executed in as many counterparts as may
be convenient -~r~e_q~_ir~d. ~~-~~-~!1 ~?t ~~-~e~~ssary that the signature and acknowledgment of or that
the signature and acknowledgment of each party, or that the signature and acknowledgment of all
persons required to bind any party, appear on each counterpart. All counterparts shall collectively
constitute a single instrument. It shall not be necessary in making proof of this Agreement to produce or
account for more than a single counterpart containing the respective signatures and acknowledgment
of, or on behalf of, each of the parties hereto. A facsimile copy of the agreement shall be considered an
original.




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Your signatures below authorize Investor to order full and complete credit reports and background
checks in efforts to verify credit and background history and to gather whatever financial information is
considered necessary for consideration of this investment. Upon Owner agreement to the terms and
conditions contained herein, please sign this term sheet below.




Please do not hesitate to contact us if you have any questions on terms, conditions, format or
procedure regarding this term sheet letter.




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  IN WITNESS WHEREOF, the parties have executed this Agreement and acknowledge that said
 Agreement shall be governed by aU applicable laws.




         I
         ·I
 Andy !<irsch                                         Date
 President
 Maiteco Buslness Consulting Group1 1nc..



 Accepted and Approved by:




 Principal's Name                                     Oste:




 Notary Sea! Date




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 MALTECO
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          ENGAGEMENT AGREEMENT
                                       Between

        Bean Lumber Company, Inc. and "Owner/CEO" Grady Bean
                                And




                              MALTECO
                         Business Consulting Group, Inc




~---~------------------------------~---------------
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                               ENGAGEMENT AGREEMENT


Parties:
This Agreement made this May 27, 2010 by and between MALTECO BUSINESS CONSULTING, INC, a
corporation registered in Dallas Texas, whose address is 1825 W. Walnut Hill Lane Suite 120, Irving, Texas
75038, hereinafter referred to as "MALTECO" or "Consultant" and Bean Lumber Company, Inc. and Grady
Bean hereinafter referred to as "Client", whose address is Hwy.8 SpurN Glenwood, AR. 71943, United States
of America.




         Whereas Consultant is in the business of providing management consulting services to
         businesses in an effort to obtain a financial guarantee {ct: insurance wrap) against presented
         assets for capital enhancement whereas Client desires to retain Consultant for the following
         purposes:

                                 To arrange an insurance wrap against Asset

Gz:ncral:
         For and in consideration of mutual benefits, promises, and the cross consideration
         hereinafter set forth, the adequacy of which is hereby acknowledged, the parties hereto,
         MALTECO and Bean Lumber Company, Inc. and Grady Bean, collectively "THE PARTIES",
         hereby covenant and agree as follows:

    1. Services


    A.   MALTECO is hereby engaged by Bean Lumber Company, Inc. and Grady Bean, to provide
         insurance services (exclusive) in short FINANCIAL GUARANTEE (CT: INSURANCE WRAP),
         bankable and assignable.
    B.     MALTECO shall contact institutional insurance agencies, arrange presentation of the
         Company and arrange conferences with the insurance agents (the "Insurance- term").
   C.    MALTECO is engaged to provide consulting services to, Bean Lumber Company, Inc. and
         Grady Bean for purposes of attempting to provide, through Malteco's sources, the
         requested Financial Guarantee against the asset.

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    Z.   Process, Compensation and Fees for Insurance Binder/Financial Guarantel'

2.a.) Process
         Bean Lumber Company. Inc. and Grady Bean , executes this engagement agreement and
         pays to Malteco the required fees of $125,000.00 USC to bind the asset with a financial
         guarantee for further Credit enhancement. The initial payment is for $ 60,000.00 USC with
         an agreed upon term of $16,500.00 USC Bi-weekly installments until Binder is fulfilled.

         To the accounts of

         MAL TECO BUSINESS CONSULTING GROUP, INC
         W. WALNUT HILL LANE, STE 120
         IRVING, TEXAS 75038
         UNITED STATES OF AMERICA




Account Info.:
Account Name:          MALTECO BUSINESS CONSULTING GROUP, INC.
Account Number:        2000052237735
IBAN/Routing:          111025013
Swift:                 PNBPUS3NNYC
Bank name:             WACHOVIA BANK
Bank address:          4040 N McARTHUR BLVD SUITE 200, IRVING, TX 75038
Bank Officer:          W. CHRIS HOWARD
Bank Phone:            +1 (972) 717-9217
Bank Fax:              +1 (972) 791-0741


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I Reference Code    1148-04-19-2010-FG-NA


        The Profit sharing agreement between the parties will be completed, as soon the
        commitment to bind the asset, is provided by the insurance agency.




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  3. Termination of Agreement
  A.    Upon the bankruptcy or liquidation of the other party, whether voluntary or involuntary;
  B.    Upon the other party taking the benefit of any insolvency law;
  C.    Upon the other party having or applying for a receiver appointed for either party; and/or
        written notice by one party to the other party.


  t.    \utices
        All notices hereunder shall be in writing and addressed to the party at the address herein set
        forth, or at such other address which notice pursuant to this section may be given, and shall
        be given upon the earlier of actual receipt or three (3) business days after being mailed or
        delivered to such courier service. Any notices to be given hereunder shall be effective if
        executed by and/or sent by the attorneys for THE PARTIES giving such notice and, in
        connection therewith, THE PARTIES and their respective counsel agree in giving such notice
        such counsel may communicate directly in writing with such party to the extent necessary to
        give such notice.




  !>.   AUnnH'Y Fees
        In the event either party is in default of the terms or conditions of this Engagement
        Agreement and legal action is initiated or suit be entered as a result of such default, the
        prevailing party shall be entitled to recover all costs incurred as a result of such default
        including reasonable attorney fees, expenses and court costs through trial, appeal and to
        final disposition.

  6.    TimP is oftlw Essf'Hcc
        Time is hereby expressly made of the essence of this Engagement Agreement with respect to
        the performance by THE PARTIES of their respective obligations hereunder.

  7.    lnurmnent
        This Engagement Agreement shall inure to the benefit of and be binding upon THE PARTIES
        hereto and their respective heirs, executors, administrators, personal representatives,
        successors, and consultant cannot assign this agreement

  8.    Entire Agreement
        This Engagement Agreement contains the entire agreement of THE PARTIES. It is declared
        by THE PARTIES that there are no other oral or written agreements or understanding



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          between them affecting this Agreement.                This Agreement supersedes all previous
          agreements.

   '1.    Amemimenls
          This Agreement may be modified or amended provided such modifications or amendments
          are mutually agreed upon by and between THE PARTIES hereto and that said only an
          instrument in writing signed by THE PARTIES makes modifications or amendments.

   10. Waivers
          No waiver of any provision or condition of this Agreement shall be valid unless executed in
          writing and signed by the party to be bound thereby, and then only to the extent specified in
          such waiver. No waiver of any provision or condition of this Agreement and no present
          waiver of any provision or condition of this Agreement shall be construed as a future waiver
          of such provision or condition.

   1 L Non-Waiver
          The failure of either party, at any time, to require any such performance by any other party
          shall not be construed as a waiver of such right to require such performance, and shall in no
          way affect such party's right to require such performance and shall in no way affect such
          party's right subsequently to require a full performance hereunder.

   i 2.   Con~tmction   of Agreement
          Each party and its counsel have participated fully in the review and revision of this
          Agreement.    Any rule of construction to the effect that ambiguities are to be resolved
          against the drafting party shall not apply in the interpretation of this Agreement.

   13. Non-Circumvention Agreement
       Bean Lumber Company, Inc. and Grady Bean. agrees, represents and warrants hereby that
          it shall not circumvent MALTECO with respect to any banking or lending institution,
          insurance, investment bank, trust, corporation, individual or investor introduced by
          MALTECO to Bean Lumber Company and Grady Bean, pursuant to the terms with MALTECO
          for the purpose of, without limitation, this Agreement and for a period of twelve (12)
          months from the date of execution by THE PARTIES of this Agreement. If and Bean Lumber
          Company. Inc. and Grady Bean , enters into a transaction with a party introduced by
          consultant, then the fees owed under section 2a shall be due whether or not this Agreement
          or term has ended.

          Further the Parties agree to the articles of non-disclosure outlined in the ADDENDUM "B".




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    14. Applicable Law
        THIS AGREEMENT IS EXECUTED PURSUANT TO AND SHALL BE INTERPRETED AND GOVERNED
        FOR ALL PURPOSES BY THE LAWS OF THE STATE OF TEXAS FOR WHICH THE COURTS IN
        DALLAS, TEXAS SHALL HAVE JURISDICTION WITHOUT GIVING EFFECT TO THE CHOICE OR
        LAWS OR CONFLICT OF LAWS RULES THEREOF OR OF ANY STYLE. The parties agree that
        mediation shall be used as an initial forum for the good-faith attempt to settle and resolve
        any issues or disputes that may arise.

    1 :;, Cuunterparts
        This Agreement may be executed in a number of identical counterparts.              Each such
        counterpart is deemed an original for all purposes and all such counterparts shall,
        collectively, constitute one agreement, but, in making proof of this Agreement, it shall not
        be necessary to produce or account for more than one counterpart.

    16. FacsimHe
        A facsimile copy of this Agreement is acceptable.

    i 7. Interstate Commerce
         The Consultant shall undertake to comply at all times with Section 17-b of the Securities Act
        of 1933.

    1 B. 1\!:n•ptable Forms of Agreement
        The Client recognizes that this is a binding contract. The contract has to be submitted in
        electronic form via email or fax submission. A hard copy has to be sent via overnight FEDEX
        to the office of Malteco Business Consulting Group, Inc.


       TO:
       MALTECO BUSINESS CONSULTING GROUP, INC
       W. WALNUT HILL LANE, STE 120
       IRVING, TEXAS 75038
       UNITED STATES OF AMERICA

       The Client has to submit the signed and NOTARIZED agreement to our office and can expect
        in between 48-72 hours the countersigned contract back.




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       IN WITNESS WHEREOF, THE PARTIES have set forth their hands and seal in execution of this
       Engagement Agreement this May 27, 2010 by and between:




S~GNATURE

 MALTECO BUSINESS CONSULTING GROUP, INC



                                                      By: _ _ _ _ _ _ _ _ _ _ __


 By: Willy Andreas Kirsch, Director                   Date: Thursday, May 27, 2010

 Date: Thursday, May 27, 2010




                                                      Notarization Field:

                                                   , Name: ........................................................................................

                                                   • Nr.: .............................................................................................




                                                                                                   (Stamp:)


                                                   • Date: ..........................................................................................

                                                   L - - -·- - -·- - - - -               - - - -·-


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                                            ADDENDUM "A"

                                                 Project Scope

  Project Activities: MALTECO BUSINESS CONSULTING GROUP, INC., in providing insurance services, shall
  perform the following project specific functions and merge MALTECO efforts with Bean Lumber
  Company, Inc. Bean and Grady, resources, as needed.




  This service includes but is not limited to:

  Presenting the necessary documentation as provided by the client to the insurance agency/

  If additional documentation is required, it is the client's responsibility to provide those.

  If the client requires additional assistance with providing such documentation, Malteco will assist and
  charge for the additional service as agreed in writing before additional services will be provided.

  All funds, to cover the binding fees have to be wired to the accounts of Malteco Business Consulting
  Group, Inc. before the insurance binder will be presented.

  Malteco Business Consulting Group guarantees for the safekeeping and security of the funds with their
  financial liability insurance up to 5 Million USD.

  Upon payment of the Depository/Binder payment of           $ 125,000 (One hundred Twenty Five Thousand
  USD) Binder Fee for the insurance will be considered paid in full. Any additional payments required for
  binder will be covered by Malteco Consulting, and its affiliates and or/assignees.




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                                                                     ADDENDUM "B"
                           CONFIDENTIALITY AND NON-DISCLOSURE                                                          /\G~U:~_·:I·rElv'T




        This Confidentiality and Non-Disclosure Agreement is effective upon its execution from Thursday,
        May 27, 2010, by and between MALTECO BUSINESS CONSULTING GROUP, INC. (the "Discloser") and
        Bean Lumber Company. Inc. and Grady Bean (the "Recipient"), together with their parent,
        subsidiaries and affiliates collectively, the "Discloser" and "Recipient" are sometimes collectively
        referred to as the "Parties" and individually referred to as a "Party".




        WHEREAS, Discloser is revealing proprietary financial sources to assist in the procurement of
        Insurance Services through affiliated insurance agencies that the Discloser will introduce to the
        Recipient.




        WHEREAS, the relationships may be created by the Discloser's introductions may lead to the raising
        of funds for the Project and/or entering into a venture or entering into other similar business
        ventures involving the Discloser, either directly or through their third party contacts the ("Possible
        Transaction");




        WHEREAS, Discloser desires to make available in connection with the Possible Transaction, certain
        information and related documentation concerning the Possible Transaction and the Business that
        may include without limitation, details of, the Business, its organization, finance and technology, as
        well as details of the Possible Transaction, which the Discloser deems to be Confidential and
        Proprietary;




        WHEREAS, the Discloser is willing to disclose such information and documentation to the Recipient
        on the condition that such information remain confidential pursuant to the terms and conditions of
---...-""'"''......,_,..,_......,......,.....,.......,...,...,._....,......,.......,.......,....,..__,._..,...,..........,...._.....,.._ _ _ _,_r__
                                                                                                                                                  ***_____   _,....,.-M..._~w~~




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   this Agreement. Recipient's information, 3rd party contacts, etc. will also remain confidential
   pursuant to the terms and conditions ofthis Agreement.



   NOW, THEREFORE, in consideration of their mutual promises herein, and other good and valuable
   consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as
   follows:



1.0 Definitions as used herein:
    "Confidential Information" shall mean and include, any and all technical and non-technical
   information belonging to the Discloser, including but not limited to, copyright, trade secret and
   proprietary information, intellectual property services, business plans, legal documents, techniques,
   drawings, models, know-how, processes, software, products, research and development activities,
   apparatus, equipment, software programs, methods, models, relating to the Possible Transaction,
   and the Business, and includes, without limitation, its information concerning research,
   development, business models, financial projections specifications, engineering, financial
   information, procurement requirements, business plans, management, earnings, marketing and
   sales, customers, suppliers marketing plans and information and all other aspects of the Business
   and the Possible Transaction, including, without limitation, its assets, liabilities, profitability, policies
   and financial position, third party contacts, sources of funding and technology partners.
   Confidential Information may be communicated in written, visual or oral form. Confidential
   Information shall include any and all other information marked or identified in writing by either
   Party as "Confidential" or "Proprietary Information" and provided by either Party or their respective
   representatives. "Confidential & Proprietary Information" shall also include all notes, analyses,
   compilations, studies, interpretations or other documents that are made as a part of any Party's
   evaluation of any other Party and based upon other Confidential Information.



   Notwithstanding The Foregoing, "Confidential & Proprietary Information" shall not include:

       a.     Any information known to a Party prior to disclosure of such information by the other Party
              or its representatives, as documented prior to such disclosure in the receiving Party's
              written records;


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        b.   Any information which becomes available to any Party on a non-confidential basis from
             source other than the disclosing Party, which source is not bound by a confidentiality
             Agreement with, or any other contractual, legal or fiduciary obligation of confidentiality to,
             the disclosing Party with respect to such information;

        c.   Any information which is or becomes generally available to the public other than as a result
             of a disclosure by a Party in breach of this Agreement; and


        d. Any information conceived or developed by any Party or any of its employees without
           access or reference, directly or indirectly, to the Confidential Information.


 :Z.fl "Party or "Parties"
       Any reference in this Agreement to a Party shall mean either the Discloser or Recipient, as the
    context so dictates and any such reference to Parties shall mean both parties hereto.



 :UI "HepresC'nt.ttivc"
     Shall mean any Agent, authorized representative, attorney, auditor or persons engaged by or on
    behalf of the Discloser or the Recipient.



 4.0 Disdosure of Confidential Information
     4.1 The Discloser I Recipient (a) acknowledges the confidential and proprietary nature of the
    Confidential Information received or to be received, (b) will keep the Confidential Information
    confidential, including, without limitation, by using the same degree of care (but in no event less
    than a reasonable degree of care) to prevent the unauthorized use, disclosure, dissemination,
    publication or other access to information as Discloser I Recipient uses to protect its own highly
    confidential information, and will not (except as required by applicable law, regulation or legal
    process, and only after compliance with paragraph 4.3 below), without the Discloser's prior written
    consent, disclose any Information in any manner whatsoever, and (c) will not use any Confidential
    Information other than in connection with the Transaction; provided, however, that the Recipient
    may reveal the Confidential Information to its Representatives (i) who need to know the
    Confidential Information for the purpose of evaluating the Transaction, (ii) who are informed by the
    Recipient of the confidential nature of the Confidential Information and (iii) who agree to act in
    accordance with the terms of this Agreement.        The Recipient will cause its Representatives to

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    observe the terms of this Agreement, and will be responsible for any breach of this Agreement by
    any of its Representatives.




    4.2 In addition, both Parties agree that although certain information, technology or business
    information may be generally known in the relevant industry, the fact that it is used by the Discloser,
    and how it is used by the Discloser, may not be known and therefore constitutes Confidential &
    Proprietary Information. Both Parties agree that the fact that various fragments of documentation,
    information or data may be generally known in the relevant industry does not mean that the
    manner in which the Discloser combines such documentation, information and data, and the results
    obtained as a result of such combination, are known and, therefore, such combination and results
    constitute Confidential & Proprietary Information.




    4.3 In the event that the Recipient or any of its Representatives are requested pursuant to, or
    required by, applicable law, regulation or legal process to disclose any of the Confidential
    Information or matters contemplated by Section 1. Above, the Recipient will notify the Discloser
    promptly so that the Discloser may seek a protective order or other appropriate remedy or, in the
    Discloser's sole discretion, waive compliance with the terms of this Agreement. In the event that no
    such protective order or other remedy is obtained, or that the Discloser does not waive compliance
    with the terms of this Agreement, the Recipient will furnish only that portion of the Confidential
    Information which it is advised by counsel is legally required and will exercise all commercially
    reasonable efforts to obtain reliable assurance that confidential treatment will be accorded the
    Confidential Information.




;;, 0 Protection of Confidential Information
    5.1 The Discloser I Recipient Agrees, with respect to any Confidential Information received;

    (a) To examine and use such Confidential Information only in furtherance of a potential business
    relationship between the Parties, and not to disclose the same to any third person; and

    (b) To receive and hold the Confidential Information in the strictest confidence and ensure all
    reasonable security precautions in the safekeeping of the Confidential Information are applied by
   the Recipient's employees so as to prevent disclosure of such Confidential Information to third
    persons. Recipient will take all reasonable necessary steps to ensure that its employees and
                                                                      -----·----~~-~
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   Representatives who have a need to know such information receive such Confidential Information
   and that its representatives, employees, agents and sub-contractors respect the obligations of non-
   use and non-disclosure provided herein; and

   (c) Not to copy, reproduce or reduce to writing any part thereof except as may be reasonably
   necessary pursuant to Sub-Section 5.1a above and ensure that any copies, reproductions or
   reductions to writing so made shall be the property of the Discloser; and

   (d) To return such Confidential Information received in any tangible form to the Discloser within five
   (5) days at the written request of the Discloser and to retain no copies or reproductions thereof and
   certify same in writing upon request of the Discloser; and

   (e) To certify in writing to the Discloser that the terms of this Agreement have been complied with
   upon request or upon termination; and

   (f) To maintain all confidential or proprietary markings placed upon or contained within the
   Confidential Information of the Discloser, and to refrain from removing, destroying or rendering
   illegible any such markings.

   (g) Subsidiaries; provided, however, that the foregoing provision will not prevent the Recipient from
   employing any such person




   (h) Who contacts the Recipient on his or her own initiative without any direct or indirect solicitation
   by or encouragement from the Recipient or




    (i) Who is contacted by way of a generalized search for employees through the media or
   employment firm.

6.0 Non-Circumvention
    The Recipient I Discloser agrees not to use any Information to circumvent the other through
   pursuing the business opportunity alone or through third parties, or approaching the Revealed Third
   Party at the expense of the other party, for the purposes, intent or effect of circumventing or
   competing in any form, with the Discloser.




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7.0 Entire Agreement
    7.1 This Agreement contains the entire agreement between the Parties concerning the
   confidentiality of the Confidential Information and other matters contemplated hereby, and
   supersede all prior or contemporaneous oral or written understandings or agreements regarding the
   subject matter of this Agreement. No modification of this Agreement or waiver of the terms and
   conditions hereof will be binding upon the Parties, unless approved in writing by each of the Parties.



   7.2 No rights or obligations other than those expressly recited herein are to be implied from this
   Agreement.



8.0 Term and Termination of Non-Disclosure aml Non-Cit'<'tull '"'!11 Agn~mt:ent
    8.1 This Agreement shall become effective as of the Effective Date, on the date of signature by the
    last of the Parties and shall remain valid for a period of five (5) years. Upon that date or as soon as
   practicable thereafter, each Party shall, at the other's direction, destroy or return all the
   Confidential Information which the other party has disclosed to it under or pursuant to this
   Agreement.




   8.2 Restrictions with respect to the Confidential Information shall remain in force for a period offive
   (5) years following the date of this Agreement, notwithstanding this Agreements termination for any
    reason whatsoever.

9.0 Severability
    If any provision of this Agreement is found by any court of competent jurisdiction to be invalid or
   unenforceable, the invalidity or unenforceability of such provision shall not affect the other
   provisions of this Agreement which shall remain in full force and effect.

l 0.0 Equitable Relief
     10.1 Both Parties to this Agreement acknowledge that the Confidential Information belonging to the
   Discloser is a unique and valuable asset of Discloser. Disclosure in breach of this Agreement will
   result in irreparable injury to the Discloser for which monetary damages alone will not be an
   adequate remedy.



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   10.2 Therefore, the Parties agree that in the event of a breach or threatened breach of the terms of
   this Agreement, the Discloser will be entitled to specific performance, injunctive relief or other
   equitable relief prohibiting any breach of this Agreement without giving an undertaking as to
   damages. Any such equitable remedy shall be in addition to and not in lieu of, other appropriate
   relief at law to which that Discloser may be entitled.

1 1.0 Non-Assignability
     No Party to this Agreement shall assign any of its rights or obligations hereunder, without the prior
   written consent of the other Party hereto, which consent shall not be unreasonably withheld.

l '2.(1 Counterparts
      This Agreement may be signed in any number of counterparts and/or via facsimile transmission with
   the same effect as if the signature to each were upon the same Agreement.

13.0 Agncemenls
    13.1 This Agreement is neither intended to nor will it be construed as creating a Joint Venture,
    Partnership or other form of Business Association between the Parties or Incorporating the
    Confidential Information.




   13.2 All Confidential Information disclosed by the Discloser remains the property in right and title of
   the Discloser. All Confidential Information disclosed by the Recipient remains the property in right
   and title of the Recipient.



14.0 Waiver
    The failure of either party to enforce any rights resulting from any breach of any term or provision of
   this Agreement by the other party will not be deemed a waiver of any right relating to a subsequent
   breach of such provision or of any other right hereunder.

15.0 Governing Law
    The validity and interpretation of this Agreement shall be governed by the laws of TEXAS and any
   dispute arising thereof shall be submitted exclusively to courts in Indiana.

16.0 Sworn Statement
   WHEREAS, I, Bean Lumber Company. Inc. and Grady Bean (the "Recipient"), fully understand that
   the any transaction discussed will be strictly one of private placement, and that it is in no way



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  relying upon or relating to the United States Securities Act of 1933 or related regulations, and it
  does not involve the sale of registered securities.

  Further, I hereby declare that I, and Bean Lumber Company. Inc. and Grady Bean (the "Recipient"),
  am not a licensed broker or government employee. I (the "Recipient"), have mutually agreed that
  this private placement transaction is exempt from the Securities Act, and is not intended for the
  general public, and all matters are for PRIVATE USE ONLY.

  I, and Bean Lumber Company. Inc. and Grady Bean ,as authorized signatory acting personally or on
  behalf of my company, do hereby confirm that I have requested of your organization to release
  specific confidential information and documentation on behalf of myself and or my company in
  order to serve my interest and purposes of helping with introductions into the financial world for
  private project funding by means of private placement. I hereby agree to keep all information and
  documents I receive from you "strictly confidential" not disclosing it to 3rd parties without consent. I
  hereby swear I will not try to contact or circumvent you in any way now or in the future and that I
  recognize your contacts as your personal property and not to be disclosed to any other parties. I
  hereby affirm under penalty of perjury I will not disclose any information I obtain.

  I, and Bean Lumber Company, Inc. and Grady Bean , hereby declare that the information I receive
  from you is in direct response to my request of your personal assistance and you or any of your
  associates have not solicited me for information or funds or any other type of offerings. I hereby
  affirm under penalty of perjury that you have not solicited me or any of my associates in anyway. I
  herby affirm that I hold you harmless from any claims or liabilities and I assume full responsibility to
  make my own judgments based on the information provided.

  I, and Bean Lumber Company. Inc. and Grady Bean and hereby request of you to assist me with
  introductions regarding Insurance Services, Project Funding, Private Placement and does no way rely
  or relate to "United States Securities Act" of 1933 as amended or related regulations including
  House Resolution HR 3720 private transaction; and does not involve the sale of securities.




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    Further, I declare I am not a licensed broker or a government employee I understand that you or
   your organization is not a licensed security broker or a licensed financial advisor. I mutually agree
   that if you accept and assist me with an introduction for project funding through a private
    placement that the transaction will be exempt from the Securities Acts and "Is Not" intended for the
    "General Public", and that it is strictly a private transaction I am in search of and all materials and
    information are strictly for "OUR PRIVATE USE ONLY".

SIGNATURE




Malteco Business Consulting Group, Inc.                  Bean Lumber Company. Inc. and Grady Bean




By: Willy Andreas Kirsch, Director                      By: Grady Bean "CEO and Owner"

Date: Thursday, May 27,2010                              Date: - - - - - - - - -




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                                          ADDENDUM "C"

                                      Banking Information

TOTAL AMOUNT TO BE WIRED                       $125,000.00 USD



Account Info.:
Account Name:         MALTECO BUSINESS CONSULTING GROUP, INC.
Account Number:       2000052237735
IBAN/Routing:         111025013
Swift:                PNBPUS3NNYC
Bank name:            WACHOVIA BANK
Bank address:         4040 N McARTHUR BLVD SUITE 200, IRVING, TX 75038
Bank Officer:         W. CHRIS HOWARD
Bank Phone:           +1 (972) 717-9217
Bank Fax:             +1 (972) 791-0741
Reference Code        148-04-19-2010-FG-NA




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           admin@malteco.com
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Business Consulting :Group, Inc
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   Further, I declare I am not a licensed broker or a government employee ! understand that you or
   your organization·ts·not a--ttcensed security broker ~-a-lloensed..fm~l advisor.. ! mutually .~are~.
   that .if you accept and assist me with an introduction for project· funding tbrot.Jgh a private
   placement that ttre transaction will be exempt from the Securities Acts and "Is -Not" intended for the .
   "General Public". and that it is stric:tly a private transaction I am in search of and all materials and
   information are strictly for "'OUR PRlVATE·USE. ONLY".

SIGNATURE



Malteco Business Consulting Group, Inc.                                                          Bean




By: Willy Andreas Kirsch, Director

Date: Thursday, May 2i 2010




      20   1825 W. Walnut Hill tane Suite 120 Irving, Texas 75038 972-331-2557 fax 972-331-2562
           admin@matteco.com
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                                                                                          Pg     5 of      7
           Bean Lumber Co., Inc.
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        Check     oa~e                   Amo~nt               Check      Date                  Amount
        10658  06/24                 26,232.00
                                                        ---------------------------·-------
                                                             l067S 06/26          51,861.45
        106~9  OEi/24                    895.56               10679     06/28            23,196.53
        10661* OG/24                     527.40               10680  06/29                2,000.00
        10662 0.6/26                  7,000.00                10681  06/26                3,726.24
        10664* 06/25                  1, 146. ·os             10682  06/28                  456.16
        10665 06/28                      141.05               10688* 06/2.9               6,968.96
        10667* 06/26                 10,000.00                10689 06/29                45,075.00
        10670* 06/29                  2,076.64                l069l* 06/30               46,~17.25
        1osn   06/29                 76,806.33                10692 06/29                lO,OlO,OO
        10674* 06/30                 79,247.12                1069.3 06/2.9                    200.00
        10675 OG/30                  G3,140.40                lOG94 OG/30                       86,24
        106"76   06/28                  ?4?.G7                10697* OG/30                2,695.21
        10677    06/29                    94.!;';0            10699 06/30                  1,884.21

  --------------------------------- Other Debits
  06/0l/2010 ACH Payment                                                                         4,983.22
                LEASING SERVICES PHONE PYMT
1lo6/02/20l0 Tranofer withdrawal W/T TO MALTECO BUSINESS                                        60,   ooo. oak
  06/02/2010 Transfer Charge       W/T FEE                                                             15.00
  06/08/2010 Overdraft Charge                                                                          75.00
                Item(s) Presented OG/07/2010
  06/ll/2010 ACH Payment           BCIC ach                                                     33,4.99.96
  OG/lG/2010 Overdraft Charge                                                                         25.00
                Item(c) Precented 06/14/2010
  06/16/2010 OVerdraft Charge                                                                         125.00
                Item(~) Presented 06/15/2010
  OG/16/2010 Return Cheek Chrg                                                                        .25.00
                Item(s) Presented OG/15/2010
  OG/17/2010 Transfer withdrawal                                                               13,005.00
  06/17/2010 overdraft Charge                                                                         25.00
                !tem(s) Presented OG/16/2010
  06/lB/2010 overdraft Charge                                                                         100.00
                Ieem(s) Preeented 06/l7/20lO
  06/21/2010 Transfer withdr~w~l                                                                 s,ooo.oo A.
~G/21/2010 TransfQr withdrQw~l                                                                 16,500.00 Jl\
                W/T BEAN LttMBEa TO MALTECO
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        aean Lumber co., Inc.




-\66/21/2010   Tran11fer Charge                                                            15.00~
                   W/T BEAN LUMBER TO MALTECO FEE
OG/22/2010     Overdraft Charge                                                           100.00
                   Item(s) Presented 06/21/2010
06/23/2010     Transfer Withdrawal                                                     54,6~2.05
06/23/2010     Transfer Withdrawal                                                     84,730.03
OG/23/2010     Overdraft Charge                                                            25.00
                   Item(s) Presented 06/22/~010
06/23/2010     Return Check chrg                                                           75.00
                   ~tem(s) Preeented 06/22/2010
06/24/2010     ACa Payment                                                                 39.9.9
                   AMSRtCAN EXPRESS ELEC REMIT
OEi/24/2010    ACH Payment           GARNISHMENT FEE                                      100.00
OG/24/2010     AC'H Payment          GARNJ:·SHM'EN'T BEAN   t.OMSER                    10,590.:21
06/24/2010     ov~rdraft Charge                                                            50.00
                   Item(a) Presented 06/23/2010
06/25/2010     Overdraft Charge                                                           lSO.OO
                   Item{sl Presented 06/24/2010
06/28/2010     Ret~rn Check Chrg                                                           so.oo
                   Item(s) Presented 06/25/2010
06/29/2010     Overdraft Charge                                                            25.00
                   zcem(s) Presented 06/28/2010
06/30/20l.O    A.Ca l?a}'li1ent      SC'IC ach                                         26,360.60
OG/.30/2010    ovcrd~~Et Ch~rge                                                           150.00
                  Ite~(s)   P~eaentcd   OG/29/2010
OG/30/2010     Service Charge                                                               0.9S

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                                                     Total Fo:r               Total
                                                     This Period              Year-to-oat.e
  Total overdraft Fees                                       850.00               1,050.00
  ---------------~---------~·M·------------------------------------------------·
   Total Return Xcem Feee                          150.00              300.00


---·---------~~--·----------- Daily Ending Balance ---------------~·--··-·------
OG/01             50,864.08       06/03          101,BS4.60           06/07           161,019.01y
06/02             72,703.10       06/04          269,173.24           OG/OS            49,087.15
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           Bean Lumber Co., Inc.




   ------- Checks listed in      numeric~l        order'   ("')   indicates gap in sequence -------
        Check   oate                  Amount.                 Check     Da.te           Amount
   -·--·-----------~--···---·----~----                 ~~·-~~-~-~~-~~---------------~----~
        10860      07/21              397, .i.O               10888     07/26         2,685.20
        10862*     07/'J.?.       20,000.00                   10889     07/26         2,846,84
        10863      07/22           2,323.73                   10890     07/26         9,439.75
        10864      07/23           1,064.20                   10891     07/26         1,993.97
        10865       07/26              6?5.54                 10893*    07/27        25,729.44
        10866       07/23          !;),"125.70                10895'*   07/27         4,803.06
        10867       07/29              317.31                 10895     07/27         .9,439.75
        10868       07/2'2        24,245, 82.                10897      07/27        41,012.79
        J.OBIS!)    07/28             380.72                 l090l"'    07/29            763.00
        10871*     07/23           1,227.81                  10902      07/29         1,284.54
        10873*      07/26          3,986.4.0                 10904*     07/28            201.27
        10875*     07/30          62,069.58                  10906*     07/28         1,86'4.21
        10876      07/30          62,898.75                  10908*     07/29         2,821.96
        10878*     07/27          63,080.00                  10909      07/30         2,907.8/lo
        10879      07/28          62,641.12                  10910      07/30            375.84
        lOSSO      07/28          52,845.12                   l09ll     07/29         6,.984.00
        10881      07/2.9         53,412.48                  10912  07/29             9,363.77
        10882      07/23              323.ll                 lOSlG""07/30                 126.96
        10883      .07 /').9         342,86                  1093.7 07/29            22,786'.64
        10885*     07/26           1,062,49                  10920* 07/30                95.78
        l08BG      07/26          46,62S.Sl                  10922* 07/30                3S.4S
        10987      07/27           '2,000,00

   --------~--~-~--·-----~-----·-··· Other Oebits ---~~-------------~-~--~~-··--··•
   07/0l/2010 Transfer Withdrawal                                                          63,145.40
   0·7/01/2010 Stop Pmt Charg~D           S~~p Payment Charge                                  25.00
   07/0l/20l0 Stop Pm~ Charge             Stop Payment Charge                                  25.00
   07/01/2010 Return Che¢k Chrg                                                                75.00
                  Item(s) Presented 06/30/2010
   07/02/2010 overdraft Charge                                                                 so.oo
                  ltem(s) Preoented 07/0l/20l.O
   07/02/20J.O Retu~ Check Chrg                                                                25.00
                   leem(o) ~reoented 07/0J./2010
..( 07/0G/.2010 Tr~ngfer Withdrawal                                                        16,5<10.00*
                      W/T TO MALTECO BUS CONSOLTIN GROOl?
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                                                                                   104002944



                                                   , I



                                                                              Jul 31, 2010
                                                                              Pg    6 of       a
            B~an   Lumber Co., !no.




  07/0Ei/2010    Rotu~     Check Chrg                                                   25.00
                    Item (s) Presented 07/02/2010
..Jo7/06/201o    Transfer Cha:a:;ge
                    W/T TO MALTECO BUS CONSULTIN GROOP·FEE
                                                                                        15.00      ~
  07/07/2010     Transfer Withdrawal                                               79.658.63
  07/07 /2'010   Stop Pmt Chax-ge      Stop Payment Charge                             25.00
  07/07/2010     over6raft Charge                                                      25.00
                    Item(s) Presented 07/06/2010
  07/08/2010     overdraft Charge                                                       50.00
                    J:tem(s) Presented 07/0"1/2010
  07/08/2010     Return Check Chrg                                                      2S.OO
                     !t"':n.(s)   Presented 07/07/2010
  07/09/2010 overdraft Charge                                                          l2S.OO
                    Item(lil) Presented           07/0S/2010
  07/12/2010     Transfer Withdrawal              ?.£'1: 07/09/2010                '-:'.,923.26
  07/12/2010     Tranafer withdrawai              W/T SEAN TO MALTECO              16,500.00
  07/12/2010     OVerdraft Charge                                                         25.00
                    Item (s l Presented           07/09/2010
  07/12/2.010    Transfer Charge                  W/T SEAN 'l'O MALTECO FEE             15.00
  07/13/2010     Overdraft Charge                                                       75.00
                    Item(s) Preoenteel            07/12/2010
  07/l"l/2010    over~raft c~rge                                                      150.00
                     Item(s.) !?resented 07/13/2010
  07/15/2010     Overdraft Charge                                                     275.00
                     Item(s) Prascnted 07/l4/20l0
  07/16/20!1.0   overdraft charge                                                     1?5.00
                     Item(s) Presented 07/lS/20J.O
  07/19/2010     'l'ransfe~ Withdrawal                                              s.ooo.oo
  07/19/2010     Overdraft Charge                                                     .100.00
                     Item{s) Presented 07/16/2010
  07/22/2010     Tran$fer Withdrawal                                               10,100.00
                     W/T BEAN LUMB~R TO UNION PACIFIC RR
  07/22/2010     TX'ansfer Charge                                                       15.00
                     W/T SEAN LUMBER TO UNION PACIFIC RR FEE
  07/23/20l0 Ove:-d.:r:a!:t:. Cl'la.rge                                               125' 00
                     Item{s)      P:~.·csentccl   07/22/2010
  07/26/2010     overdF~ft Charge                                                     lSO.OO
                    Iter..(lll) Presented         07/23/2010
             Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 117 of 148




                                                                                    104002944




                                                                               Jul 31, 2010

                                                                               Pg     7 of       e
            Bean Lumber co., Inc.




  07 /'27 /2010 Transf~r Withdrawal                                                  5,,454.40
  07/27/2010 Stop Pmt Charge             Stop Payment Charge                              2$,00
  07/'2.7/2910 Return Check Chrg                                                          50.00
                   Item(s) Presented     07/26/2010
  07/2S/20l0 overdraft Charge                                                             50.00
                   Item(s) Presented     07/27/2010
~ 07/29/2010 T~ansfer Withdrawal                                                      5,005.00
  07/29/2010 'l'x-ansfer Wi thd.rawa.l   W/T BEAN TO MALTECO                         lSI 500. 00     1(
  07/29/20l0 overdraft Charge                                                           100,00
                   Item(a) Presented     07/28/2010
  07/29/2010 Return Check Chrg                                                            25.00
                   Item(s) Presente~     07/29/2010
fo7/29/20lO    Tra.nsfe:r Cha;('ge       W/T SEAN TO MALTECO FEE                          15.00*
  07/30/2010 overdraft Charge                                                           100.00
                I"tem(s) Presented 07/29/2010
  07/3l/20l0 Service Charge                                                                  0. 72
  ---••••~~------------------------•--------~-·---•----~--w-•~~-•-••••••••••••••••
                                                      Total For              Total
                                                      This l?eriod           Year-to-Date
      -------------------------------------------------------~-----·----~·------~4-·
       Total Overd;r-aft Feee                        J.l lii75. oo I     21625.00
      ~-------------------------------------------------------------·---~----·------
  1   Total Return Item Foes                               225. 00      I            S2S. 00


  ---------------·-··---·-·w~-+ Daily tn~ing Balance ~------·---------------------
  07/0l          13l 1 633.3l-       07/14        127,725.58•        07/23           67 1 2SS.26-
  07/02           391678.63-         07/15        148,382.40-        07/26           59,170.65·
  07/0G            4 1 937,70-       07/16         85,222.56-        07/27           S0 1 96l.Sl·
  07/07          137,067.90-         07/19         24,677,44         07/28          1241353.35-
  07/08          1411767.10-         07/20         62,677.44         07/29           90,239.79·
  07/09           35,904.49-         07/21         S6,SOS.77         07/30           74,l40,S9-
  07/l2           83,671.25·         07/22        2lliSS4.7S-        07/31           74 1 141.31-
  07/13          1641543.76-
             Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 118 of 148
-----Original Message-----
From: John Kimmey [mailto:ikimmey@vc-alternative.corn)
Sent Sunday, October 03, 2010 9:15 PM
To: gbean(p:beanteam.com
Subject: RE: Update

We go after Gary with pressure ... Starting tomorrow.

-----Original Message-----
From: gbecH1@beanteam.com [mailto:gbean@beante;:~rrtcom]
Sent Sunday, October 03, 2010 8:07 PM
To: John Kimmey
Cc: .lliill.@gallingroupintl.com
Subject RE: Update

>


Guys, this is not something to discuss on sunday night because it is for
family but think aboutnthis and we can discuss Monday I am really
beginning doubt Andys validity his stories aren't matching up week to
week and I really think he wouldn't let John pursue abridge loan because
he didn't want to be responsible for having to back it up. He has
seriously jepordised this company because i made decisions based on his
"assurance" of the first million by July 15th and then the bridge loan
later on. We could have slowed production months ago and not been in the
situation we are now. Why will he not let us monetize our loan? And he
won't send any letter assuring that the money is actually there. I am
really beginning to get upset at the guys lack of honesty and inability to
be forthright.

Are there any answers???



Grady




>
To> Can we please obtain this information on Maltek letterhead that we can
> formally provide to the banks ? My understanding is that this is the
> collateral Grady has been desperately seeking to clarify with the Banks on
> the conference call with you before I left for NYC and Boston. Please
> advise if there is anything I can assist with in providing this document
> for
> Mr. Bean.
>
>John
>
            Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 119 of 148




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   Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 120 of 148




                                                                      ':4l.L rouK INSIJRII/fCE SOa'T!Ofl:! UNPER O.rrtt ROOF"




To whom it may concern:




In regards to the policy Malteco carries it is currently being endorsed to Andy Kirsch. Since Andy was

the prior owner of Malteco and is currently a named insured on the policy the policy will move over into

his name. The pollcy is currently active and Andy Kirsch currently has coverage on the policy.




Should you have any question or need anything please contact me.




               /




   6565 TAFT STRE:ET • SUITE 104 • Hot.t.YWOOD, FL 33024 • ?HoNE 954962..S014 • FAX 954-964-3..:j22
                        18!503 PINES SL.VO. • #204 • PEMBROKE PINES, FL 330.:W
                                           WWW.INSIJRINGU.COM
            Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 121 of 148




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Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 122 of 148




               •           MAL TEK International SARL
Date: August 17, 2010

To: Bean Lumber

Attn: Grady Bean

Ref: Credit Line

We would like to inform you that Bean Lumber Credit is established. Due to the financial
Summer Break and Summer Vacation in Europe we have experienced delays in moving the funds
from our source to Bean Lumber. We apologize for the delay and we are working closely with
our CL source to resolve this issue.

We expect this matter will be resolved in a timely manner.

If you have any questions, please feel free to contact us any time.




Sincerely,




          /.       /£.·.
 ._,;M'tf~-
  -   "•"'1../
               .


Andy Kirsch, President




Lamartine 27, Geneva, 1203
Phone: Geneva +41 (0}79 9244845 USA +1972 533 5346
andy kirsch@ malte kinternationalsarl. com
     Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 123 of 148




 ~ MALTEK International SARL

 Date: August 20, 2010




 To: Bean Lumber

 Attn: Grady Bean

 Ref: Credit Line/Follow Up

 In reference to Credit line letter August 17, 2010 we are providing requested update. Due To do the
 financial Summer Break and Summer Vacation in Europe, we have experienced delays for moving the
 funds from our source to Bean Lumber. We are apologizing for the delays and we working closely with
 our CL source to resolve this issue. The funds transferred from European Funding Group are subject to
 International and US Banking laws. Maltek International SARL does not anticipate any regulatory or
 compliance issues at this time. Maltek International SARL expects these funds to clear in 17
 International and /or US bank workdays. The release must also consider any pending regulatory or
 banking additional compliance matters. If needed please contact me directly. We are working diligently
 to resolve and address all our clients at this time.




 Sincerely,




 Andy Kirsch, President




.....L~Lamarti;;'"~ 27-:-Ge'n_e_v_a_,-1-20-3---------=-...,.,~~~-=~=~~~.-=--·-~-·

          ~ Phone: Geneva +41 (0}79 9244845 USA +1 972 533 5346
          ~ andykirsch@ ma ltekinternationalsarl.com
             Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 124 of 148
From: Gary Hacker [mailto:gh@malteco.com]
Sent: Wednesday, October 20, 2010 1:41PM
To: gbean@beanteam.com
Subject: Re: letter

Grady,
I am pressed for time but quickly I think we are about ten days away from cash. The bank has
accepted SBLC via M1799 and the process is going.

On Wed, Oct 6, 2010 at 11:30 AM, GaryHacker<gh(Q),malteco.com> wrote:


Grady,
I got this email with no content. Please send me you contact information and summary of you
deal.

Best regards,
Gary Hacker
Malteco Business Consulting Group
1825 W. Walnut Hill Lane
Suite 120
Irving, TX 75038
972-331-2557
469-450-6552 cell
972-331-2562 fax
gh@m alteco. com
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hard copies are exchanged between the parties. Information contained in this transmission is confidential. It is
intended for the use of the individual or entity named above. If the reader of this message is not the intended
recipient, you are hereby notified that any dissemination, distribution or copy of this communication is strictly
prohibited




Best regards
Gary D. Hacker
Malteco Business Consulting Group
1825 W. Walnut Hill Ln
Irving, Texas 75038
            Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 125 of 148




From: Gary Hacker [mailto:gh@malteco.com]
Sent: Tuesday, October 26, 2010 10:36 AM
To: gbean@beanteam.com
Subject: Re: Update

Mr. Bean,

Andy and I briefly discussed those tactics and while we are not sure the method we will use the
quickest way possible. This is in the final stages and will be winding up very soon.

On Tue, Oct 26,2010 at 10:12 AM, <gbean@beanteam.com> wrote:

Gary,
   Checking to see about updates since Friday. Also do you have any
knowledge concerning if the fi.mds will be wired directly to us or
another US bank first? I know that this will affect the date we
rec1eve.


Grady Bean




Best regards
Gary D. Hacker
Malteco Business Consulting Group
1825 W. Walnut Hill Ln
Irving, Texas 75038
2h@.malte co.com
972-331-2557 phone
972-331-2562 fax

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Reply, Reply All or Forward I More
              Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 126 of 148




From: Gary Hacker [mailto:gh@malteco.com]
Sent: f\llonday, November 08, 2010 11:05 AM
To: gbean@beanteam.com
Subject: Re: Update

I expect the contract to be in place the first part of this week and of course cash directly following.
Andy is in Vietnam and it is a little difficult to connect but I expect to later this evening>

OnMon, Nov 8, 2010 at 10:39 AM, <gbean@beanteam.corn> wrote:


Gary,
  I know business day is ahnost done in Europe and I wantedbto see if
you had an update from the bank or Andy




Grady Bean




Best regards
Gary D. Hacker
Malteco Business Consulting Group
1825 W. Walnut Hill Ln
Irving, Texas 75038
gh@malteco.com
972-331-2557 phone
972-331-2562 fax
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Rep~y,   Reply All or Forward                    I More
              Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 127 of 148
> -----Original Message-----
> From: Andy Kirsch [mailto:andykirsch@ma!tekinternationalsarLcom]
> Sent Sunday, October 03, 2010 10:00 AM
> To: £1bean20Jvzw.blackberry.net
> Cc: 'John Kimmey'; 'Ben W. Gallinger'
> Subject RE: Update
>
>   Mr. Bean, The bank issuing a SBLC and not Cash for credit line. This means
>   I
>   have to monetize the this financial instrument. I am in Rome for this
>   purpose mid next week. At the mean time, I have two more bank meeting
>   tomorrow and 5 more for the rest of this week. I expect a resold for
>   these
>   this week. Sorry for this delay which is completely out my control.
>   Another step which we need to take to complete this process.
>   I will update you at soon I have more detailed answers.
>
>
>   Andy Kirsch, President
>
> Maltek International
> Rue Lamartine 27
> Geneva, 1203
> +41 (0)79 9244845
> andykirsch@maltektnternationalsarl.com
> Skype: andy.kirsch
>
>   -----Original Message-----
>   From: SJbean2(Nvzw.blackberry.net [mailto:gbean2(,Wvzw.blackberry.net]
>   Sent: Sunday, October 03, 2010 9:13 AM
>   To: andykirsch@maltekinternationalsarl.com
>   Subject: Update
>
>Andy,
>    This is Grady Bean. Haven't heard anything in a couple days and I
>was
> looking for an update. The main lender that we decided not to take out is
> making demands.
>
> Thanks
> Grady
> Sent from my Verizon Wireless BlackBerry
                   Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 128 of 148
  >
  > -----Original Message-----
  > From: gbean@beanteamcom [mailto:gbean@beantemncom]
· >Sent: Thursday, November 25, 2010 1:23PM
  > To: andykirsch@maltekintemationalsarlcom
  >Subject: [Fwd: Problems]
  >
  > ---------------------------- Ori~lMessage ----------------------------
  >Subject: Problems
  >From: gbean@beanteamcom
  >Date: Thu, November 25, 2010 6:20am
  >To:     andykirsch@maltecintemationalsarlcom
> --------------------------------------------------------------------------
>
>
>Andy,
>     I didn't hear :from you yesterday and my main lender blew up. They
>are really upset that Garyto1d themmoneywou1d be movingTues and
>it didn't. They to1d me if money is not moving by the 30th they are
> calling my loan!
>
> They are owned by Catapillar which is worldwide and they said they were
> going to contact the bank and verifY the legitimacy of the loan. They are
> convinced we are never getting money.
>
> I really need some help here Andy. I need something legit to get them to
>calm down
>
> Is there any chance of money by next week? Honestly
> Hope you are feeling better
>
>Grady
>
>
>
>
>
>
>
>
>
                 Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 129 of 148
-----Original Message-----
From: Ben W. Gallinger [rnaiho:ben@gallingroupintlcom]
Sent: Tuesday, December 14, 2010 3:22PM
To: gbean@beanteamcom
Subject: FW: aisa



Best Regards,
Ben W. Gallinger
Ben Gallinger
ben@gallingroupintlcom
www.gallingroupintlcom
(866) 650-PINE toll free
(503) 625-5641 fux
(469) 744-1051 cell




FYI ... tell Grady.. .I ve been on this all day... CONFIDENTIAL..... "Merrill
Is Our Broker. We Have Things Under Control ".... answer I we been
fighting for since pre dawn


-----Original Message-----
From: Shelly Bay Capital [rnaiho:amello@shellybaycapitalcom]
Sent: Tuesday, December 14,2010 9:40AM
To: Christophe Schwoertzig
Cc: John Kinnney
Subject: Re: aisa

I'm on the phone.

Merrill is our broker. We have things under control
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From: Ben W. Gallinger [mailto:ben@gallingroupintl.com]
Sent: Wednesday, December 15, 2010 10:44 AM
To: gbean@beanteam.com
Subject: Internet Postings Garrison Securities
Importance: High



Grady,




Here is the response from Garrison Securities about the internet postings that are online about them. Attached
is a letter from their Attorney.

Andy knows Garrison Securities, however, your transaction has nothing to do with Garrison Securities.




Your transaction will monetize directly from a Financial Institution in form of a Bank.




Best Regards,




Ben Gallinger

ben@ga llingroupintl.com

www.gallingroupintl.com

(866) 650-PINE toll free

(503) 625-5641 fax

(469) 744-1051 cell
              Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 131 of 148




Dear Mr. Kirsch,

Thank you for notifying my colleague ofthe defamatory posting. The posting referenced is amongst a
small number of libellous internet articles of an untrue, incorrect and detrimental nature concerning
our Company and its senior personnel. As far as we can ascertain the postings have been made by one
US-based brokerage, in an illegal attempt at defamation and coercion.

The information contained in these postings is without substance and we refute all accusations offraud,
misrepresentation and misdirection. Our attorneys are in regular contact with the local authorities and
to date neither the broker nor the client in question has filed a criminal complaint against our
Company. Put simply, the postings are malicious in intent and fallacious in content.

The dispute referenced within the postings is being addressed by the ICC International Court of
Arbitration, however we have had difficulty serving notice to the client as they are 'unavailable' at their
registered address. The dispute originates from the client failing to disclose, when questioned,
numerous companies mismanaged into bankruptcy under their control. Under the terms of our
contract this constituted a material omission and was a blatant attempt at concealing the true credit
risk associated with the client: the transaction was duly terminated and the fees charged to the client
were retained against costs.

With respect to the author of the articles, we have commenced both criminal and civil legal action and
will shortly be taking similar actions against the web sites hosting such libellous and wrongful
statements about us. External legal counsel have been retained to address the matter; please see the
attached letter for further details. A US based attorney has also been retained.

It sadly remains the fact that anyone can post anything they wish on the internet without having any
requirement of substance or claim. However if you remain concerned about the statements made
about us, either Paul, Dan or myself are available to discuss the matter in further detail. In the
alternative we can arrange for you to discuss the matter with our attorneys direct.

I trust this alleviates any concerns you may have, however I remain at hand should you require anything
further information.

Yours sincerely,



Nick Fox
Legal & Administration
Garrison Securities SA

http:ljwww.garrisonsecurities.com
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Batiment Banque Nationale Suisse
Rue de Ia Paix 6
Lausanne
CH -1003
Switzerland

Central: +41213411330
Fax: +41 213411339

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regulated in Switzerland for the business of Representation activities, intermediation, trust and
J. JJUL
                      Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 133 of 148

          brokerage in the financial sector.

          Registered Office: Rue de Ia Paix 6, Lausanne, CH-1003. Switzerland .
                              Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 134 of 148
                                                      AVOCATS
                                                      www.mcelegal.ch


                     JliAN-PAUL MAIRE
                         AvCKal au barredlJ
                           Docteur en drott
                   MCJ University of lcxas                                                                             To whom it may concern
                    YVES HOFSTEITER
                         Avocat dU barrcau
                          Docteur en droll                                                                             October 291\2010
                       LAURENT MAIRE
                        Avoc.at au barreau
                       LL.M. EUJopean law
                ANTOINE EIOIJNMANN
                         Avocat au barrttau
                           Do<teur en droit
                           Cnarge de tours
                 a I'Univcr<it6 de Fribourg
                       FIORENZO cm·n
                         Avocat au barreau               GARRISON SECURITIES S.A: arbitration procedure and
                           Notaire au    Tes~in

                   NICOLAS ROUILl..ER                    criminal complaint (libel, defamation and attempt of coercion)
                         Avocat    au barreau
                          ooaeut en droit
            Professeur invite a I'Academie
                    d'economle pollttque
                                                         Sir, Madam,
              du gouvernement d~ Russie
          OASPARD COUCHEPIN
                Av-ocat au barrea.u
                                                         We are the lawyers of GARRISON SECURTIES S.A.
                 Dotteur en droit
                 Notalte en Valais
   COLEITE LASSBRRE ROUILLER                            This letter is written in reaction of the misleading accusations that
                        Avocate au barreau
                           Docteur en droit             Garrison Securities and its directors are currently suffering from.
              ANNIF.GRIHSSEN COirl
                Avoc-ntP au baneau MAES
                      MURUlL VAUTiflR                   On October 5th 2009, GARRISON SECURITIES S.A entered into an
                       Avocate au barreau
                         Docteur en droit               agreement with a client. A commercial dispute has arisen between this
         Spil<:i>'lllste FSA ~n responsabilitl>
              ovfle et droit de~ dS\ura-nces            client and Garrison Securities S.A. On October 22nd 2010, GARRISON
                  TIPIIANIE CHAI'l'UIS
                        Avotate au barreau              SECURITIES S.A began a commercial arbitration in Geneva in
                      OF.SS en crimlnologie
                    SABINE COMISETTI                    accordance with the procedure set forth within the agreement signed
                        Avocitte   dU   lldrrMdU
                       LLM. European Law                between GARRISON SECURITIES S.A and the client.
                FLORIAN DUCOMMUN
                        Avoc at dU barrnau
                    LL.M. McGill Univo.,ity             This client and his broker started to spread misleading information
                 CAROLA MASSATSCH
                        Avocate au bnrmau               regarding GARRISON SECURITIES S.A. This action is aimed at
        G£!RALPINE CHAI'US RAI'IN
      Avocnte au barreau de Mars~ille                   putting pressure on GARRISON SECURITIES S.A to refund monies
              OESS en dro" dos Affairos
    Moglstere en fiscalite de l'cntreprise              that it feels rightfully belongs to it. Libelous and defamatory articles
                        musEPPf; co·rn
                                                        about GARRISON SECURITIES S.A and its directors have also been
                    YAN SCHUMACHER
                            Avocat·~tagidire
                                                        published on the Internet.
                               OEAen droit
                de$ nouvelle!. technologms
                          LINDA GARCIA                  The information and accusations contained in the articles are
                          Avocate~stag,aire

                  I'RANC,:OIS CHANSON                   strongly contested. A criminal complaint for attempt of coercion,
                            Avo,at~~tdgiditt•

                         NILS KAPFERER
                                                        libel and defamation bas been filed in Switzerland on October 18th
                            Avocat-staglair<!
                                                        2010 by GARRISON SECURITIES against this client and his
                    ARES BIJRNASCONI
          Avocat-stagralre, MLaw Lucerne                broker.
                       SIMON PERROUD
                            Avoctti-StdQiiUfP
                 ANTHONY KALBHJSS
                            AvO<aHtaglair~

                       ARNAUD THIERY
                            Avocat•stag1ai1e
                                   CONSEILS;
                    CLA\JIJE IWUILI.ER
     Ancren President du Tribunal federal
<'1 profP.S!leur;. I'Unlwrslle do Nouchlltel
                     Juqe au Tribunal du BIT
                       Prt\oe;ident du Tribunal
                    de I• Bour>e Sui.so (SIX)
                            LUCIENGANI
                           Oocteur en droit
                              l.lc~ncm H.E.C.
                              Avocat-con'reil
                   JliAN-I'lERRE MLiAN
                         Docteur en drott
                 ll.M. Harvard l.aw School
                              AVOc.dt·(OMeil

                MEMBRES DE LA FSA                  LAUSANNE   Grand~Chcne 1-3- Case postale 6868, C.H-1002 Lausanne         Tel +41 (Ol21312BB88·Fax+41 (0)2131288n
                                                   LOCARNO    Via della Post" 2 - <.asella postale 1545, CH-6600 Locarno    Tel. +41 (0)91 756 U 66 Fax +41 (0)91 756 22 67
                                                   MARTIGNY   Avenue de Ia Gar~ 5b ~ Ca~e postale 232, CH · 1920 Martigny   Tel. •41 (0)27 720 48 88- fox +41 (0)27 7.7.0 48 89
                  Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 135 of 148
From: Ben W. Gallinger [mailto:ben@gallingroupintl.com]
Sent: Wednesday, December 15, 2010 5:29 PM
To: 'Grady Bean'; 'John Kimmey'
Cc: 'Scott Steele'; legal@gallingroupintl.com; 'Ben W. Gallinger'
Subject: RE: lawsuit
Importance: High




Grady,




After some thought and consideration on this e-mail below I have come to the following decisions.




Please consider this e-mail as my formal parting of ways with Bean Lumber Company and Curt Bean Lumber
Companies.




l feel that l have gone above and beyond the call of duty of a "LUMBER SALESMAN" in coordinating people
that I know outside of the Bean Lumber realm to help facilitate a loan for you and your company.

The assumptions below are considered by myself to be both assumptive and insulting and I won't tolerate it. I
have been working for free for the past 6 months for you and your company by acting as a middle man of
information from an entity that you freely and willingly entered into a financial agreement with.

For you to assume that I have had or do have any other alternative motives other than getting Bean Lumber
running again is insulting.




)est of luck to you in yourfuture efforts forfunding Bean Lumber and in re-establishing a relationship with
UFP as a client.
                  Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 136 of 148
From: Grady Bean [mailto:hshfinc@cablelynx.com]
;ent: Wednesday, December 15, 2010 6:05AM
To: 'John Kimmey'
Cc: 'Ben W. Gallinger'
Subject: lawsuit




   John and Ben,

        I am informing you this morning that Bean Lumber Company is cutting our ties with Mr. Andrew Kirsch. We
are, along with our lending institution, First Capital Credit Corporation in Atlanta , GA filing suit on Mr. Kirsch, his
company and all in'X>I\13d parties for Corporate Fraud, International Bank Fraud, and International Wire Fraud. First
Capital is agreed to help fund the lawsuit and their attorneys in Atlanta feel strongly that we ha\13 a \13ry good case for
reco\13ring puniti\13 damages also. Of course they are doing this to help reco\13r some of their money eventually. We
are also reporting him to the proper authorities so that they may help in the investigation. Their attorneys ha\13 been
working on this for about a week and feel that through his emails and witnessed phone conversations he has made
false promises that ha\13 caused irre\Ocable harm to our company.

        Today is the 15th which we were told repeatedly he had to fund by and that is as long as they were willing to
wait. The email that he sent Saturday pertaining to Garrison Securities being in'X>I\13d was the last straw. One of
their officers researched Garrison and sent me a copy of some \13ry disturbing news that I am forwarding to you
iirectly after this email.

        They are preparing the filing as we speak and I suspect in the next few days everyone will be getting
notification.

        I am \13ry sorry that it has come to this, I do belie\13 that you guys have had very sincere intentions and 1 do
not wish to cause anyone, especially you guys any undo problems, but it I have no choice because of the bank. 1
ha\13 to be honest, after the email on Garrison and Andy's failure to produce anything satisfactory for the Tulsa
-~ttorneys; I also ha\13 lost my faith in him being an honest man. I sincerely hope that he has acted solely in this
scam and has not put other good people at risk.




       I am requesting that this email not be shared with anyone other than you as a copy is being turned over to the
attorneys.




       The email will follow shortly.




Grady Bean
             Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 137 of 148

---On Wed, 3/23/11, Billy Parlin <bparlin@bellsouth.net> wrote:


From: Billy Parlin <bparlin@bellsouth.net>
Subject: Bean Lumber
To: "Scott Traut" <boyd_law_frrm@yahoo.com>
Cc: "Andy Kirsch" <ak@malteco.com>
Date: Wednesday; March 23, 2011, 10:17 AM

Scott, Andy has decided to refund your client's money. He is still upset about the threats
and allegations that your client made.
He will pay the money back just as he received it, being$ 12,000.00 every two weeks.
Blly
                  Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 138 of 148



 From:                         Billy Parlin [bparlin@bellsouth.net]
 Sent:                         Wednesday, November 06, 2013 8:47AM
 To:                           Charlie
 Subject:                      update


  Charlie, 1just got off Skype with Andy. I, of course, do not have any verification, but I have been told,
  John Marie is in Hong Kong.
  John Marie will be in Ho Chi Minh City on Friday.
  John Marie & Dino meet Saturday to execute contracts.
  My understanding is on Sunday both will travel to Singapore, on Monday another account will be opened.
  Gets blurry here, later, I am assuming by Wednesday or Thursday they will travel to Hong Kong to transfer funds.
 Then the funding process starts, takes 5 business days from the start for Andy to receive any Funds-may take longer
  since funds will be coming out of New Zealand.
 Out of initial funding, money must be used to reimburse fees, and pay additional fees. Not sure how much. Once done,
 then clients paid pursuant to contracts.
 Once John Marie and Dino actually execute contracts, and we are apparently dealing with big egos, and are in Singapore,
 I will update you.
 I may have misspoke earlier, the filing of the lawsuit may delav payment. The reason is that funds will not be sent based
 on the allegations and demands of litigation. I have not read, but I understand that the funding agreement is for a specific
 project, and must be used for that purpose. Also, I am informed that the contract is a "best effort" contract, and that all
 clients are informed not to make any business decisions nor obligate themselves prior to the funds actually arriving.
 I know there are always two sides to a story, I say three, my client's side, your client's side, and the truth, which is usually
a combination of both.
Have a nice day.
Billy Parlin
Attorney at Law
2112 Bienville Boulevard
Armand Place, Suite J
Post Office Box 577
Ocean Springs, MS 39566-0577
(228} 872-7071 Office Phone
(228} 872-0499 Office Fax
(228} 235-4192 Cell Phone
bRarlin@bellsouth .net
MSB #4022




                                                               1
        Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 139 of 148



From: Billy Parlin <bparlin@bellsouth.net>
Date: August 19, 2013, 6:49:02 PM COT
To: Boyd Law Firm <boyd_law_firm@yahoo.com>
Subject: Re: Andy
Reply-To: Billy Parlin <bparlin@bellsouth.net>


Charlie, you can give me 48 or 72 hours, but it will not be settled
until John Marie gets to Singapore, opens the account and starts
sending Andy money.
I know you do not believe Andy will ever pay without being made
too, so go ahead and file. I understand that, and I understand that
for years there have been promises that have been broken.
Once Andy is in a position to settle, I will contact you. Meanwhile, a
demand would be nice so that I can give Andy a heads up. Heck, file
and we may be able to enter an Agreed Judgment, but first I must
know what you client thinks he is entitled too.
I am not asking you to wait to file, what I am asking for is a
reasonable demand, with some justification for the amount
requested. You also need to know that the filing or not filing will not
delay or expedite funding for Andy. However, the filing, in my
opinon, will not entitle your client to a greater sum that he would
already be entitled.

Billy Parlin
Attorney at Law
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(228) 235-4192 Cell Phone
bparlin@bellsouth.net
MSB #4022
             Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 140 of 148




From: Boyd Law Firm [mailto:boyd_law_firm@yahoo.com]
Sent: Friday, March 18, 201112:21 PM
To: Billy Parlin
Cc: hshfinc@cablelynx.com
Subject: Re: Andy Kirsch/Bean Lumber



Thank you for your prompt reply. I forwarded this e-mail along to Mr. Bean and spoke with him about
where to go from here. If what Mr. Kirsch is offering in writing is to either fund Bean Lumber in two
weeks or give the initial investment back, then that would be an acceptable compromise. I would need a
signed good faith letter some time today or over the weekend (e-mailed or fax is fme) documenting the
basic agreement. We can flesh everything else out in the coming week. If Mr. Kirsch can actually make
this work, then I see no reason to waste a year on litigation.

On a note, Texas Law is designated in the choice of law clause in the current contract. A forum was not
chosen. I would not have mentioned suit had it been otherwise until I found a lawyer in that forum.

Sincerely,

R. Scott Troutt
The Boyd Law Firm
P.O. Box 3494
Little Rock , AR 72203
(501) 372-0770
(501) 372-1807 Fax
                Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 141 of 148
 Subject: Re: Andy

 From:     Billy Parlin (bparlin@bellsouth.net)

,To:       boyd_law_firm@yahoo.com;

 Date:     Tuesday, August 13, 2013 9:27AM




Charlie, this is the formation that has been provided to me.
John Marie-the person that is going to provide the funds, and Deane-the person
that is actually putting the money up for the funding have agreed to the terms
and conditions. John Marie, yesterday, applied for his visa to go to Saigon. He
told Andy it would take about three (3) days to get the visa, and then he would
be traveling to Saigon-he did not give an approximate travel date. Once there, he
and Deane (I am not sure this is close to the correct spelling, as he is
Vietnamese and I am typing based on Andy's pronunciation, and he is German),
they will complete the transaction, and travel together to Singapore to open the
JV account. Once that is done, the contract pursuant to Andy calls for Andy to
start receiving money within one banking week. The money will be wired to Andy,
who will either wire directly to me or to his International Paymaster in New
Zealand, who will wire to me. I will start disbursing once I receive funds.
I have not seen the contract between your client and Andy. I am under the
impression that the contracts are for projects. You may to review the contract to
see if there is a project involved. If there is, I understand that beyond the
repayment of the initial investment, that payments will be paid pursuant to the
progression of the project. I do not know what your client's contract entails, so
you may want to review it.
This is the best info I have been provided.

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bparlin@bellsouth.net
MSB #4022

From: Boyd Law Firm <boyd_law_firm@yahoo.com>
To: Billy Parlin <bparlin@bellsouth.net>
Sent: Thursday, July 11, 2013 1:18PM
Subject: Re: Andy

We do we stand re your previous e/m of June 25?
                 Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 142 of 148

The Boyd Law Firm
P.O. Box3494
Little Rock, AR 72203
,501) 372-0770
(501) 372-1807 Fax

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your system without copying it, and notifY the sender by reply e-mail, so
that our address record can be corrected.
From: Billy Parlin <bparlin@bellsouth.net>
To: "boyd_law_firm@yahoo.com" <boyd_law_firm@yahoo.com>
Sent: Tuesday, June 25, 2013 4:18PM
Subject: Andy




Charlie, I bet you thought I forgot your e-mail address. I just got off skpe with Andy, and all information
is in, and going on Euro-clear, when completed, Andy will provide codes to necessary parties. Based on
the information I have, Andy expects fthe inal contract to be executed this week, once done, and banks
do their compliance, initial funding-small percentage of total will be paid to Andy within 7 days. I am
not exactly sure when the 7 day period is suppose to start, but I should know that by early next week.
Andy believes it will be within the 7 days, I believe it will take the entire 7 days. Once money is in
Andy's trust account, his international payee, who is in New Zealand, will wire me some funds to
disburse. Supposedly, within 14 days thereafter additional funds will be forthcoming, and I will wire
out. I anticipate leaving to meet Andy, based on the information I have now, mid July.
I will keep you updated on progress. When funds are sent, do you want to wire to your account or your
client's?
I know it has been a long wait, and I want to thank your client for his patience, I know it has been
hard on all of us and I know that he does not believe that Andy has been working on getting him
funded, and that Andy was just scamming him. I can assure you that Andy has put in 15 plus hours a
day working on getting everyone's contract fulfilled, I often talk to him at 2 or 3 a.m. his time.
Please thank your client for his patience.
Thanks again, and I will be in touch.
If anything changes, which has happened in the past, and I really really hope that it does not, I will
inform you. Otherwise, I should be back with you no later than next Tuesday or Wednesday will more
definite news.
Billy Parlin
Attorney at Law
2112 Bienville Boulevard
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Post Office Box 577
Ocean Springs, MS 39566-0577
(228) 872-7071 Office Phone
(228) 872-0499 Case
               Office 4:13-cv-00718-JM
                      Fax              Document 1 Filed 12/13/13 Page 143 of 148
(228) 235-4192 Cell Phone
bparlin@bellsouth.net
MSB #4022
                     Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 144 of 148
, , ""'"• uury   rdlllll   c;.oparlln@b81!SOUth.net>
To: Boyd Law Firm <boyd_law_firm@yahoo.com>
Sent: Monday, August 19, 2013 12:14 PM
Subject: Re: Andy


Charlie, thanks for the heads up. Filing suit or not filing suit will not expedite
the matter, and probably will not delay it either. When John Marie get to
Singapore, and opens the account, and starts paying Andy, then Andy will
start paying 'but the investors. As I stated, your client has a contract, and that
contract, I believe, involves a project. From what I understand, Andy is paying
the initial amount of the investment, and then as evidence of the project
moving forward is provided, the balance of the funds will be paid. Since I have
not seen any of the contracts, I do not know exactly the terms of the
agreement with your client.
I do know this, your client, nor anyone else will be paid this week, as John
Marie is not in Singapore and thus he will not be paying out any funds this
week, nor probably next week.
I will keep you informed as to when John Marie leaves for Saigon, and when
he goes to Singapore, and when he opens the account, and when your client
can expect funds.
Prior to filing suit, why do you not send me a demand, and I will forward to
Andy. We may be able to work out an agreed judgment. Andy owes the
contract, and I agree, he may not, that he owes some interest and attorney's
fees. Of course, your client is going to have to comply with his obligations
under the contract. A reasonable demand will give me time to discuss with
Andy.

Billy Parlin
Attorney at Law
2112 Bienville Boulevard
Armand Place, Suite J
               Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 145 of 148

From: Billy Parlin <bparlin@bellsouth.net>
Subject: Re: Andy Kirsch/Bean Lumber
To: "Boyd Law Firm" <boydJaw_frrm@yahoo.com>
Date: Thursday, March 17, 2011, 6:59PM

Scott, thank you for the letter. I think you do not have all of the facts regarding this matter, and_what
caused at least some of the delay. Apparently, the funding was not necessary and as such I do not see the
"damages" you keep referring too. How can your client be damaged if Andy has in fact a funding date?
Does your client want something in writing from Andy setting out the funding date?
Of course you can file suit, but to me that is counter-productive, when it is going to take you more than
two weeks to get everyone into court. To wait two weeks does not seem unreasonable. I would think that
you and your client would prefer an agreement setting out that if your client is not funded, then the
repayment schedulue will be as follows ....
As to your client, I know you have not seen the e-mails referring to his powerful friend in Congress and
how he is going to have his friend sick the FBI on Andy. He weilds the threat of criminal prosecution in
this civil matter as an bat.
In the contract, where does the forum for litigation agree too? Usually, in Andy's contracts, it is Geneva ,
Switzerland .
By copy of this e-mail, I am informing Andy of your client's decision.
Billy

---On Thu, 3/17/11, Boyd Law Firm <boyd_law_firn@yahoo.com> wrote:

  From: Boyd Law Firm <boyd_law_frrm@yahoo.com>
  Subject: Re: Andy Kirsch/Bean Lumber
  To: "Billy Parlin" <bparlin@bellsouth.net>
  Cc: hshfmc@cablelynx.com
  Date: Thursday, March 17,2011,5:48 PM

  Thank you for your response. However, given the previous course of dealing between our
  clients, he does not fmd that offer acceptable. We really need to know by tomorrow how exactly
  the initial funds will be returned, if they will at all. Otherwise, I will be forced to file suit, naming
  Mr. Kirsch, Maltek International, Malteco, Mr. Hacker, Mr. Kimmel, and a myriad of other likely
  parties that seem to have something to do with this thing. Given the situation forced upon my
  client, I feel that there is plenty of culpability to go around.

  I am also highly confused about your suggestion that Mr. Kirsch does not "trust" Mr. Bean. It
  seems to come up a lot, and it is not a terribly productive suggestion. Mr. Bean held up his end
               Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 146 of 148

of the bargain, and was capable of doing so. If anyone's trust has rightfully been deteriorated
through our clients' interaction, it is Mr. Bean's.

This is not the offer we were looking for. Indeed, it is completely counterproductive. Please
tender a valid starting point by tomorrow so we can move forward. Given the situation, I have
been extremely generous towards your client. I cannot do so any longer.


Sincerely, ,

R. Scott Troutt
The Boyd Law Firm
P.O. Box 3494
Little Rock , AR 72203
(501) 372-0770
(501) 372-1807 Fax

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that our address record can be corrected.

---On Wed, 3/16/11, Billy Parlin <bparlin@bellsouth.net> wrote:

From: Billy Parlin <bparlin@bellsouth.net>
Subject: Re: Andy Kirsch/Bean Lumber
To: "Boyd Law Firm" <boyd_law_frrm@yahoo.com>
Cc: andykirsch@maltekintemationalsarl.com
Date: Wednesday, March 16,2011,7:02 PM

Scott, I talked to Andy today about the issue, and he tells me that he should have Bean Lumber
funded within two weeks, and he can send the paperwork for your review. It will be sanitized, as
he does not necessarily trust Mr. Bean. It is your client's decision.
Billy

---On Wed, 3/16/11, Boyd Law Firm <boyd_law_jim@yahoo.com> wrote:

  From: Boyd Law Firm <boyd_law_frrm@yahoo.com>
  Subject: Re: Andy Kirsch/Bean Lumber
  To: "Billy Parlin" <bparlin@bellsouth.net>
  Date: Wednesday, March 16,2011, 5:09PM

  Just following up to see if anything had been decided upon yet.

  The Boyd Law Firm
  P.O. Box 3494
  Little Rock , AR 72203
            Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 147 of 148


(501) 372-0770
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that our address record can be corrected.

--- On Thu, 3/10/11, Billy Parlin <bparlin@bellsouth.net> wrote:

From: Billy Parlin <bparlin@bellsouth.net>
Subject: Re: Andy Kirsch/Bean Lumber
To: "Boyd Law Firm" <boyd_law_frrm@yahoo.com>
Date: Thursday, March 10,2011,3:52 PM

Scott, remember, Andy is in Vietnam and will back on Monday. Until then, he is pretty
tied up with meeting etc. I will talk to him about your proposal on Monday. I would want
a written settlement agreement setting out the payments, etc. I am an sure that you do
also.
I am copying Andy with this so he will have a heads up.
Thanks,
Billy P

---On Thu, 3/10/11, Boyd Law Firm <boyd_law_firll'igahoo.com> wrote:

 From: Boyd Law Firm <boyd_law_frrm@yahoo.com>
 Subject: Re: Andy Kirsch!Bean Lumber
 To: "Billy Parlin" <bparlin@bellsouth.net>
 Date: Thursday, March 10,2011, 3:47PM

 Mr. Bean said I could offer a small extension on the amount of time to start
 paying, and it can be done in increments. In exchange, however, I would Mr.
 Kirsch must sign some form of a waiver of service on any potential lawsuit as a
 good-faith gesture, and/or a secondary agreement to pay. No offense to your
 client, we just want to make sure that we have documentation to back up the
 promise to pay, and a way to enforce that agreement. Right now we are kind of
 in the ether in terms of documented agreements.

  Thanks,

  R. Scott Troutt
  The Boyd Law Firm
  P.O. Box 3494
  Little Rock , AR 72203
  (501) 372-0770
  (501) 372-1807 Fax
        Case 4:13-cv-00718-JM Document 1 Filed 12/13/13 Page 148 of 148

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---On Mon, 317/11, andykirsch@maltekinternationalsarl.com
<andykirsch@Jnaltekintemationalsarl.com> wrote:

From: andykirsch@maltekintemationalsarl.com
<andykirsch@maltekintemationalsarl.com>
Subject: Re: Andy Kirsch/Bean Lumber
To: "Billy Parlin" <bparlin@bellsouth.net>, "Scott Traut"
<boyd_law_fmn@yahoo.com>
Date: Monday, March 7, 2011, 5:10PM

Sent from my BlackBerry® Smartphone supplied by Swisscom

From: Billy Parlin <bparlin@bellsouth.net>
Date: Mon, 7 Mar 2011 14:24:11 -0800 (PST)
To: Scott Traut<boyd_law_fmn@yahoo.com>
Cc: <andykirsch@maltekintemationalsarl.com>
Subject: Andy Kirsch/Bean Lumber

Scott, I apologize for misspelling your last name.
I am not sure why you gave Andy a seven (7) day deadline, when you know he
is in Vietnam , and will not be back in Geneva and back at his office until
Monday of next week. Additionally, I have made you aware that Bean Lumber
paid the money in increments, and that Andy expects to repay the funds in the
same manner it was forwarded to him. The short deadline will not only not get
this matter resolved, but will probably insure that it takes longer to resolve. if
you do file suit. I know that you must be receiving a lot of pressure from Mr.
Bean. I had hoped that we could work together to work out a reasonable
repayment of the funds.
I will be out of the office tomorrow, and back Wednesday.
Billy Parlin
